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                                  Case 6:22-bk-04313-GER                                            Doc 72                Filed 01/04/23                         Page 2 of 92

Fill in this information to identify the case:

Debtor name           Bertucci's Restaurants, LLC

United States Bankruptcy Court for the:                      MIDDLE DISTRICT OF FLORIDA

Case number (if known)              6:22-bk-04313-GER
                                                                                                                                                                                  Check if this is an
                                                                                                                                                                                      amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                      $      20,441,746.35

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                     $      20,441,746.35


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      20,850,000.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $       1,247,406.88

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$      22,494,768.59


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                            $        44,592,175.47




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
                             Case 6:22-bk-04313-GER                   Doc 72         Filed 01/04/23              Page 3 of 92

Fill in this information to identify the case:

Debtor name          Bertucci's Restaurants, LLC

United States Bankruptcy Court for the:      MIDDLE DISTRICT OF FLORIDA

Case number (if known)        6:22-bk-04313-GER
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    PNC Bank
                    420 S. Orange Ave., Ste. 300                      Checking Account
           3.1.     Orlando, FL 32801                                 (Operating)                           6099                                 $674,506.24


                                                                      Bank Accounts swept
                                                                      into Concentration
           3.2.     See Schedule B - Exhibit 3                        Account nightly                       xxxx                                           $0.00




           3.3.     Wells Fargo Bank, N.A.                            Checking Account                      4784                                  $15,189.00




           3.4.     Bank of America                                   Concentration Account                 7900                                 $269,447.22



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                  $959,142.46
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No.   Go to Part 3.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                       page 1
                           Case 6:22-bk-04313-GER                     Doc 72          Filed 01/04/23               Page 4 of 92

Debtor       Bertucci's Restaurants, LLC                                                    Case number (If known) 6:22-bk-04313-GER
             Name


    Yes Fill in the information below.

Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

    No. Go to Part 4.
    Yes Fill in the information below.
11.       Accounts receivable
          11a. 90 days old or less:                  539,000.00        -                                   0.00 = ....                     $539,000.00
                                      face amount                             doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                             $539,000.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

    No.   Go to Part 5.
    Yes Fill in the information below.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No. Go to Part 6.
    Yes Fill in the information below.
          General description                Date of the last              Net book value of         Valuation method used        Current value of
                                             physical inventory            debtor's interest         for current value            debtor's interest
                                                                           (Where available)

19.       Raw materials
          Supplies, Food, Beer,
          Wine, and Liquor                   11/27/2022                            $780,076.07       Recent cost                           $780,076.07



20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                             $780,076.07
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
           No
           Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                585,000.00 Valuation method              Recent Cost           Current Value             585,000.00

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 2
                            Case 6:22-bk-04313-GER                    Doc 72          Filed 01/04/23        Page 5 of 92

Debtor       Bertucci's Restaurants, LLC                                                    Case number (If known) 6:22-bk-04313-GER
             Name

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No.   Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          Various Furniture, Fixtures, and Restaurant
          Equipment throughout 31 restaurants                                   $6,200,000.00                                      $6,200,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software

42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                        $6,200,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.   2013 Ford Econoline Van E-250 VIN#
                  1FTNE2EW6DDA21126                                                $21,088.00       Liquidation                        $21,088.00


          47.2.   2013 Ford Econoline Van E-250 VIN#
                  1FTNE2EW9DDA24456                                                $21,088.00       Liquidation                        $21,088.00




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
                          Case 6:22-bk-04313-GER                    Doc 72        Filed 01/04/23        Page 6 of 92

Debtor        Bertucci's Restaurants, LLC                                               Case number (If known) 6:22-bk-04313-GER
              Name

           47.3.   2002 Chevrolet Express Van G10 VIN#
                   1GCFG15W421155270                                             $8,918.00      Liquidation                        $8,918.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

51.        Total of Part 8.                                                                                                   $51,094.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
Part 9:       Real property
54. Does the debtor own or lease any real property?

    No.    Go to Part 10.
    Yes Fill in the information below.

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                        Net book value of         Valuation method used   Current value of
                                                                      debtor's interest         for current value       debtor's interest
                                                                      (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           Trademarks and Branding                                          $7,000,000.00                                      $7,000,000.00



61.        Internet domain names and websites

62.        Licenses, franchises, and royalties
           Liquor License No. R-136                                                   $1.00     N/A                                     $1.00


           Various liquor licenses                                          $4,912,432.82       Replacement                    $4,912,432.82



63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                    page 4
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Debtor        Bertucci's Restaurants, LLC                                                  Case number (If known) 6:22-bk-04313-GER
              Name


66.        Total of Part 10.                                                                                                  $11,912,433.82
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No.    Go to Part 12.
    Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 5
                                Case 6:22-bk-04313-GER                                   Doc 72             Filed 01/04/23               Page 8 of 92

Debtor          Bertucci's Restaurants, LLC                                                                         Case number (If known) 6:22-bk-04313-GER
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $959,142.46

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $539,000.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $780,076.07

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                      $6,200,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $51,094.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                            $11,912,433.82

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                       $20,441,746.35             + 91b.                       $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $20,441,746.35




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 6
                                   Case 6:22-bk-04313-GER        Doc 72      Filed 01/04/23         Page 9 of 92




                                                  Schedule B - Exhibit 3

                              Bertucci's Restaurants, LLC (Case No. 6:22-bk-04313-GER)


                                                    Account number
         41 locations total            Bank                                 Branch / Street                  City        State Zip Code
                                                        (last 4)
Bank of America Accounts
  Corporate Concentration Acct    Bank of America       7900
      Depository Account          Bank of America       0751
000002 - Kendall Square           Bank of America       2866         727 Massachusetts Ave            Cambridge          MA      02139
000003 - Holliston                Bank of America       2788         747 Washington St.               Holliston          MA      01746
000008 - Norwood                  Bank of America       2827         1514 Providence Highway          Norwood            MA      02062
000013 - Hingham                  Bank of America       2869         525 Washington Street            Weymouth           MA      02188
000015 - Newton                   Bank of America       2885         39 Main St                       Watertown          MA      02172
000016 - Braintree                Bank of America       2898         10 Tremont St                    Braintree          MA      02184
000018 - Framingham               Bank of America       2911         41 Beacon St                     Framingham         MA      01701
000019 - Nashua                   Bank of America       2924         500 Amherst St                   Nashua             NH      03063
000020 - Warwick                  Bank of America       2937         50 West Shore Rd                 Warwick            RI      02889
000021 - Peabody                  Bank of America       2940         1 Post Office Sq                 Lynnfield          MA      01940
000022 - North Andover            Bank of America       2953         23 Main St                       Andover            MA      01810
000023 - Salem                    Bank of America       2966         99 Rockingham Blvd               Salem              NH      03079
000025 - West Roxbury             Bank of America       2882         1857 Centre Street               West Roxbury       MA      02132
000028 - Waltham                  Bank of America       3208         880 Main St                      Waltham            MA      02453
000030 - Swampscott               Bank of America       3224         21 Paradise Rd                   Salem              MA      01970
000031 - Glastonbury              Bank of America       3237         211 New London Turnpike          Glastonbury        CT      06033
000034 - Medford                  Bank of America       3266         278 Mystic Ave                   Medford            MA      02155
000039 - Newington                Bank of America       3305         1220 Main St                     Newington          CT      06111
000043 - Huntingdon Valley        Bank of America       3334         723 Street Rd                    Southampton        PA      18966
000045 - Wayne                    Bank of America       2650         520 W Lancaster Ave              Wayne              PA      19087
000050 - Columbia                 Bank of America       1433         6201 Old Dobbin Lane             Columbia           MD      21045
000053 - Bel Air                  Bank of America       7751         1 Boxridge Drive                 Abington           MD      21009
000060 - Avon                     Bank of America       2979         240 West Main St                 Avon               CT      06001
000066 - Timonium                 Bank of America       1459         1821 York Road                   Lutherville        MD      21093
000068 - Langhorne                Bank of America       2982         195 Bristol Oxford Valley Rd     Langhorne          PA      19047
000069 - Lexington                Bank of America       2995         1761 Massachusetts Ave           Lexington          MA      02420
000070 - Chelmsford               Bank of America       3004         2 Summer St                      Chelmsford         MA      01824
000072 - Springfield              Bank of America       5508         6315 Backlick Road               Springfield        VA      22150
000087 - Beverly                  Bank of America       3046         15 Enon St                       Beverly            MA      01915
000089 - Solomon Pond             Bank of America       3062         601 Donald Lynch Blvd            Marlboro           MA      01752
000090 - Manchester               Bank of America       3075         2626 Brown Ave                   Manchester         NH      03103
000091 - Plymouth Meeting         Bank of America       1475         420 Plymouth Rd                  Plymouth Meeting   PA      19462
000093 - Marlton                  Bank of America       3088         Lincoln Drive                    Marlton            NJ      08053
000096 - Westboro                 Bank of America       3101         35 Lyman St                      Westboro           MA      01581
000100 - Canton                   Bank of America       3130         710 Washington St                Canton             MA      02021
000104 - Needham                  Bank of America       1491         355 Chestnut Street              Needham            MA      02494
000107 - Brockton                 Bank of America       1501         826 Belmont St                   Brockton           MA      02301
000126 - Plymouth                 Bank of America       2853         113 Samoset Street               Plymouth           MA      02360
000127 - North Attleboro          Bank of America       7845         999 South Washington St          N Attleboro        MA      02760
000129 - Mansfield Crossing       Bank of America       9662         355 N. Main St                   Mansfield          MA      02048
000130 - Reading                  Bank of America       2402         20 Walkers Brook Dr              Reading            MA      01867



Wells Fargo Accounts
000041 - Mt Laurel                  Wells Fargo         4784         7 N KENNEDY DR                   Mcadoo             PA     18237
000091 - Plymouth Meeting           Wells Fargo         4784         481 W Germantown Pike            Plymouth Meeting   PA     19462
000105 - Wilmington                 Wells Fargo         4784         2011 Concord Pike                Wilmington         DE     19803
000109 - Christiana                 Wells Fargo         4784         622 S College Ave                Newark             DE     19713
000122 - Springfield Square         Wells Fargo         4784         888 Baltimore Pike               Springfield        PA     19064
000131 - Concordville               Wells Fargo         4784         1101 Byers Dr                    Glen Mills         PA     19342
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Fill in this information to identify the case:

Debtor name          Bertucci's Restaurants, LLC

United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

Case number (if known)              6:22-bk-04313-GER
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
       Corporate Service
2.1                                                                                                                         Unknown                  Unknown
       Company                                      Describe debtor's property that is subject to a lien
       Creditor's Name

       P.O. Box 2576
       Springfield, IL 62708
       Creditor's mailing address                   Describe the lien
                                                    UCC
                                                    Is the creditor an insider or related party?
       sprfiling@cscglobal.com                       No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       3/3/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative
       priority.
                                                     Disputed


       New Century Assoc.
2.2                                                                                                                         Unknown                         $1.00
       Group, LP                                    Describe debtor's property that is subject to a lien
       Creditor's Name                              Liquor License No. R-136
       2010 County Line Road
       Huntingdon Valley, PA
       19006
       Creditor's mailing address                   Describe the lien
                                                    UCC
                                                    Is the creditor an insider or related party?
       bill@charlsonlaw.com                          No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       5/13/2019                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 3
                               Case 6:22-bk-04313-GER                         Doc 72          Filed 01/04/23          Page 11 of 92

Debtor       Bertucci's Restaurants, LLC                                                           Case number (if known)       6:22-bk-04313-GER
             Name

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative
       priority.
                                                    Disputed


2.3    PHL Holdings, LLC                           Describe debtor's property that is subject to a lien                 $8,500,000.00                Unknown
       Creditor's Name                             All assets of the Debtor not otherwise
                                                   encumbered.
       4700 Millenia Blvd., Ste 400
       Orlando, FL 32839
       Creditor's mailing address                  Describe the lien
                                                   Secured Loan
                                                   Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
       6/22/2018                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.



2.4    PHL Holdings, LLC                           Describe debtor's property that is subject to a lien                $12,350,000.00                Unknown
       Creditor's Name                             All assets of the Debtor not otherwise
                                                   encumbered.
       4700 Millenia Blvd., Ste 400
       Orlando, FL 32839
       Creditor's mailing address                  Describe the lien
                                                   Secured Loan
                                                   Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
       6/11/2019                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.




                                                                                                                            $20,850,000.
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 3
                     Case 6:22-bk-04313-GER              Doc 72       Filed 01/04/23             Page 12 of 92

Debtor    Bertucci's Restaurants, LLC                                       Case number (if known)      6:22-bk-04313-GER
          Name

      Name and address                                                              On which line in Part 1 did       Last 4 digits of
                                                                                    you enter the related creditor?   account number for
                                                                                                                      this entity
      CSC
      801 Adlai Stevenson Drive                                                     Line   2.1
      Springfield, IL 62703




Official Form 206D       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3 of 3
                           Case 6:22-bk-04313-GER                            Doc 72             Filed 01/04/23          Page 13 of 92

Fill in this information to identify the case:

Debtor name        Bertucci's Restaurants, LLC

United States Bankruptcy Court for the:         MIDDLE DISTRICT OF FLORIDA

Case number (if known)          6:22-bk-04313-GER
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                           $34,141.00         $34,141.00
          Connecticut Dept of Revenue                         Check all that apply.
          PO Box 5089                                          Contingent
          Hartford, CT 06102                                   Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
          10/31/2022                                          State Sales Tax
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $2,393.00        $0.00
          Delaware Div of Revenue                             Check all that apply.
          PO Box 2340                                          Contingent
          Wilmington, DE 19899                                 Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
          10/31/2022                                          State Sales Tax
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $715,302.52   Unknown
         Internal Revenue Service                           Check all that apply.
         1160 W. 1200 S. Street                              Contingent
         Ogden, UT 84201                                     Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         11/1/2022
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $34,103.97   $34,103.97
         Maryland Revenue Admin Div.                        Check all that apply.
         Taxpayer Service Division                           Contingent
         110 Carroll Street                                  Unliquidated
         Annapolis, MD 21411                                 Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/31/2022                                         State Sales Tax
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $351,492.30   $351,492.30
         Massachusetts Dept of Rev                          Check all that apply.
         PO Box 7089                                         Contingent
         Boston, MA 02241                                    Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/31/2022                                         State Sales Tax
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $14,247.00   $14,247.00
         New Hampshire DRA                                  Check all that apply.
         PO Box 1265                                         Contingent
         Concord, NH 03302                                   Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/31/2022                                         State Sales Tax
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




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2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $21,243.37   $21,243.37
         New Jersey Dept of Treasury                        Check all that apply.
         PO Box 002                                          Contingent
         Trenton, NJ 08625                                   Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/31/2022                                         State Sales Tax
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     Unknown
         Orange County Tax Collector                        Check all that apply.
         301 S Robinson Avenue                               Contingent
         Orlando, FL 32801                                   Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         11/1/2022                                          Notice purposes only.
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $48,751.74   $48,751.74
         Pennsylvania Dept of Revenue                       Check all that apply.
         Strawberry Square                                   Contingent
         9th Floor                                           Unliquidated
         Harrisburg, PA 17128                                Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/31/2022                                         State Sales Tax
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $13,485.21   $13,485.21
         Rhode Island Div of Taxation                       Check all that apply.
         One Capitol Hill                                    Contingent
         Providence, RI 02908                                Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/31/2022                                         State Sales Tax
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




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2.11       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                  $12,246.77    $12,246.77
           Virginia Taxation Dept.                              Check all that apply.
           Office of Customer Services                           Contingent
           PO Box 1115                                           Unliquidated
           Richmond, VA 23218                                    Disputed
           Date or dates debt was incurred                      Basis for the claim:
           10/31/2022                                           State Sales Tax
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                  $641.80
          ABE ELECTRICAL INSTALLATIONS                                         Contingent
          19 BONAZZOLI AVE                                                     Unliquidated
          Hudson, MA 01749-2665                                                Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:     MAINT
          Last 4 digits of account number
                                                                              Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               $3,100.00
          ABREU LANDSCAPING                                                    Contingent
          20 EAST STREET                                                       Unliquidated
          STONEHAM, MA 02183                                                   Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:     MAINT
          Last 4 digits of account number
                                                                              Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                  $172.50
          AC BEVERAGE INC.                                                     Contingent
          1993-7 MORELAND PKWY                                                 Unliquidated
          Annapolis, MD 21401                                                  Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:     MISC
          Last 4 digits of account number
                                                                              Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               $3,187.63
          ACTION PLUMBING INC.                                                 Contingent
          7 EAST STOW ROAD                                                     Unliquidated
          Marlton, NJ 08053                                                    Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:     MAINT
          Last 4 digits of account number
                                                                              Is the claim subject to offset?    No  Yes
3.5       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               Unknown
          ADDALLI LANDSCAPING, INC.                                            Contingent
          525 BUCK JERSEY ROAD                                                 Unliquidated
          Bear, DE 19701                                                       Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:     MISC
          Last 4 digits of account number
                                                                              Is the claim subject to offset?    No  Yes




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3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $111,523.00
         AFA Protective Systems, Inc.                               Contingent
         155 Michael Drive                                          Unliquidated
         Syosset, NY 11791                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         AFA Protective Systems, Inc.                               Contingent
         155 Michael Drive                                          Unliquidated
         Syosset, NY 11791                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,836.74
         AKEHURST LANDSCAPE SERVICE                                 Contingent
         712 PHILADELPHIA ROAD                                      Unliquidated
         Joppa, MD 21085                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $50,000.00
         AKI TECHNOLOGIES INC                                       Contingent
         375 Alabama St., Ste. 480                                  Unliquidated
         San Francisco, CA 94110                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MARKET
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         ALLIED BEVERAGE GROUP                                      Contingent
         700 KAPKOWSKI ROAD                                         Unliquidated
         Elizabeth, NJ 07201                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,412.38
         ALLSTATE FIRE                                              Contingent
         P.O. BOX 735062                                            Unliquidated
         Dallas, TX 75373-5062                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         AmerCareRoyal, LLC                                         Contingent
         420 Clover Mill Road                                       Unliquidated
         Exton, PA 19314                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         AMOSKEAG BEVERAGES INC                                     Contingent
         510 HALL ST.                                               Unliquidated
         Bow, NH 03304                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $245.00
         ANDOVER POLICE DEPT                                        Contingent
         32 NORTH MAIN STREET                                       Unliquidated
         Andover, MA 01810                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    GOVT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Aqua Pennsylvania, Inc.                                    Contingent
         PO Box 70279                                               Unliquidated
         Philadelphia, PA 19176-0279                                Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $38,164.08
         ARAMARK UNIFORM SERVICES                                   Contingent
         115 NORTH 1ST STREET                                       Unliquidated
         Burbank, CA 91502                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,723.29
         AT&T                                                       Contingent
         P.O. BOX 8110                                              Unliquidated
         Aurora, IL 60507-8110                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    UTILITY
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Atlas Retail Energy                                        Contingent
         201 Edgewater Drive                                        Unliquidated
         Suite 280                                                  Disputed
         Wakefield, MA 01880
                                                                   Basis for the claim:    UTILITY
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,492.06
         AUDIO ELECTRONICS INC                                      Contingent
         2501 WHITE AVE                                             Unliquidated
         Nashville, TN 37204                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $59,413.09
         AVIT LLC                                                   Contingent
         8403 SUNSTATE ST                                           Unliquidated
         Tampa, FL 33634                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         AZTEC                                                      Contingent
         PO Box 353                                                 Unliquidated
         East Berlin, CT 06023-0353                                 Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $206.33
         AZTEC OFFICE, LLC                                          Contingent
         35 PHILMACK DRIVE                                          Unliquidated
         Middletown, CT 06457                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         BALT GAS & ELECTRIC                                        Contingent
         PO Box 13070                                               Unliquidated
         Philadelphia, PA 19101-3070                                Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         BALT GAS & ELECTRIC                                        Contingent
         PO Box 1475                                                Unliquidated
         Baltimore, MD 21203                                        Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $189.89
         BALTIMORE COUNTY, MARYLAND                                 Contingent
         P.O. BOX 64281                                             Unliquidated
         Baltimore, MD 21264-4281                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    GOVT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         BELD                                                       Contingent
         150 Potter Road                                            Unliquidated
         Braintree, MA 02184                                        Disputed
         Date(s) debt was incurred   12/5/2022                     Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $222,188.00
         Best Petroleum LLC                                         Contingent
         Country Manor Norwood Trust                                Unliquidated
         40 Grove St., Unit 430                                     Disputed
         Wellesley, MA 02482
                                                                   Basis for the claim:    Rent
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,637.53
         BETHANY ASSOCIATES, INC.                                   Contingent
         P.O. BOX 986                                               Unliquidated
         Hammonton, NJ 08037                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         BOND DISTRIBUTING CO                                       Contingent
         1220 BERNARD DRIVE                                         Unliquidated
         Baltimore, MD 21223                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,246.22
         BOSTON LOCK & SAFE CO.                                     Contingent
         30 LINCOLN STREET                                          Unliquidated
         Brighton, MA 02135                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Boston Web Marketing LLC                                   Contingent
         1 McKinley Square                                          Unliquidated
         Boston, MA 02109                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MARKET
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Braintree Water and Sewer                                  Contingent
         85 Quincy Avenue                                           Unliquidated
         Braintree, MA 02184                                        Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         BRANDOLINI                                                 Contingent
         PO Box 4711                                                Unliquidated
         Lancaster, PA 17601                                        Disputed
         Date(s) debt was incurred   12/5/2022                     Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,328.15
         BRANDOLINI PROPERTY MGMT                                   Contingent
         P.O. BOX 4711                                              Unliquidated
         Lancaster, PA 17601                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    RECPAY
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,966.33
         BUCCI GRINDING GROUP, LLC                                  Contingent
         10 DRAPER STREET, SUITE 14                                 Unliquidated
         Woburn, MA 01801                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Bucks County Water & Sewer                                 Contingent
         PO Box 3895                                                Unliquidated
         Lancaster, PA 17604                                        Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         BURKE DISTRIBUTING CORP.                                   Contingent
         P.O. BOX 168                                               Unliquidated
         Randolph, MA 02368                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $220,561.00
         C.H. ROBINSON                                              Contingent
         Robinson Fresh                                             Unliquidated
         14701 Charlesto RD, Ste 1400                               Disputed
         Eden Prairie, MN 55347
                                                                   Basis for the claim:    Trade Debt / Food Vendor
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $145,367.00
         Canton R2G Owner LLC                                       Contingent
         PO Box 411261                                              Unliquidated
         Boston, MA 02241-1261                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         CAPE COD PAINTERS INC                                      Contingent
         Attn: Ismael De Sandis                                     Unliquidated
         27 MEADOWBROOK RD                                          Disputed
         West Yarmouth, MA 02673
                                                                   Basis for the claim:    MAINT
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         CASELLA WASTE SYSTEMS, INC.                                Contingent
         ATTN MAJOR ACCOUNTS                                        Unliquidated
         P.O. BOX 1383                                              Disputed
         Williston, VT 05495-1383
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         CashStar, Inc.                                             Contingent
         25 Pearl Street                                            Unliquidated
         Portland, ME 04101                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MARKET
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         CENTRAL CO-OP NURSERY SCHOOL                               Contingent
         1 WORTHEN STREET                                           Unliquidated
         Chelmsford, MA 01824                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Champion Energy Services                                   Contingent
         1500 Rankin Road                                           Unliquidated
         Suite 200                                                  Disputed
         Houston, TX 77073
                                                                   Basis for the claim:    UTILITY
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $120.30
         CHEFWEAR                                                   Contingent
         DEPT. 5847                                                 Unliquidated
         P.O. BOX 11407                                             Disputed
         Birmingham, AL 35246-5847
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Chowly, Inc.                                               Contingent
         225 W Wacker Dr.                                           Unliquidated
         Suite 550                                                  Disputed
         Chicago, IL 60606
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         CHURCH OF THE REDEMPTION                                   Contingent
         1101 2ND STREET PIKE                                       Unliquidated
         Southhampton, PA 18966                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $188,829.00
         CIL Walkers LLC                                            Contingent
         c/o Bank of America, N.A.                                  Unliquidated
         PO Box 105576                                              Disputed
         Atlanta, GA 30348
                                                                   Basis for the claim:    Rent
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         City of Beverly                                            Contingent
         PO Box 178                                                 Unliquidated
         Medford, MA 02155-0002                                     Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         City of Framingham DPW (#17)                               Contingent
         PO Box 851                                                 Unliquidated
         Reading, MA 01867-0405                                     Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         City of Peabody                                            Contingent
         PO Box 3047                                                Unliquidated
         Peabody, MA 01961-3047                                     Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         City of Wilmington Water                                   Contingent
         PO Box 15622                                               Unliquidated
         Wilmington, DE 19886-5622                                  Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         City of Woburn PWD                                         Contingent
         PO Box 227                                                 Unliquidated
         Woburn, MA 01801                                           Disputed
         Date(s) debt was incurred   12/5/2022                     Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Clark National Accounts                                    Contingent
         2207 Old Philadelphia Pike                                 Unliquidated
         Lancaster, PA 17602                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,400.00
         CLEVELAND MENU PRINTING INC.                               Contingent
         1441 EAST 17TH STREET                                      Unliquidated
         Cleveland, OH 44114                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         CLIPPER MAGAZINE, LLC                                      Contingent
         3708 HEMPLAND ROAD                                         Unliquidated
         Mountville, PA 17554                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MARKET
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,045.75
         CMI PACK/JORDAN IND., LLC                                  Contingent
         218 E. BEARSS AVE STE 218                                  Unliquidated
         Tampa, FL 33613                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         CNG (ConnGas)                                              Contingent
         PO Box 847820                                              Unliquidated
         Boston, MA 02284-7820                                      Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $87,599.86
         COAST MEDIA LLC                                            Contingent
         3200 Paseo Village Way #1714                               Unliquidated
         San Diego, CA 92130                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MARKET
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,541.23
         COASTAL SUNBELT PRODUCE                                    Contingent
         P.O. BOX 62860                                             Unliquidated
         Baltimore, MD 21264-2860                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    FOOD
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $18,644.00
         Coca Cola of N. New England                                Contingent
         P.O. BOX 419784                                            Unliquidated
         Boston, MA 02241-9784                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,108.75
         COCA- COLA USA                                             Contingent
         P.O. BOX 102190, 68 ANNEX                                  Unliquidated
         Atlanta, GA 30368                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    FOOD
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,391.61
         COCA-COLA BOTTLLING CO.                                    Contingent
         CCBCC OPERATIONS, LLC.                                     Unliquidated
         P.O. BOX 602937                                            Disputed
         Charlotte, NC 28260-2937
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Coca-Cola Company, The                                     Contingent
         One Coca-Cola Plaza                                        Unliquidated
         Atlanta, GA 30313                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    FOOD
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,645.39
         COCA-COLA REFRESHMENTS                                     Contingent
         BALTIMORE SALES CENTER                                     Unliquidated
         P.O. BOX 100712                                            Disputed
         Atlanta, GA 30384-0712
                                                                   Basis for the claim:    FOOD
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         COLONIAL WHOLESALE BEVERAGE                                Contingent
         P.O. BOX 1430                                              Unliquidated
         Fall River, MA 02722                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         COLUMBIA PRO CANTARE                                       Contingent
         8510 HIGH RIDGE RD                                         Unliquidated
         STUDIO 17                                                  Disputed
         Ellicott City, MD 21043
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,338.28
         COMMERCIAL EQUIPMENT REPAIR                                Contingent
         670 208TH STRRET                                           Unliquidated
         Pasadena, MD 21122                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Connecticut Water                                          Contingent
         PO Box 981015                                              Unliquidated
         Boston, MA 02298-1015                                      Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,229.27
         CONSOLIDATED LABEL CO LLC                                  Contingent
         2001 E. LAKE MARY BLVD                                     Unliquidated
         Sanford, FL 32773                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MARKET
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $75,663.60
         CONVERSANT LLC                                             Contingent
         30501 Agoura Rd., Ste 200                                  Unliquidated
         Agoura Hills, CA 91301                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MARKET
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $995.70
         COTE'S LANDSCAPING                                         Contingent
         P.O. BOX 310633                                            Unliquidated
         Newington, CT 06111                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         CRAFT BEER GUILD DIST.                                     Contingent
         4 CUTTS STREET, SUITE 4                                    Unliquidated
         Portsmouth, NH 03801                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $26,938.27
         CURRY PRINTING                                             Contingent
         190 Turnpike Road                                          Unliquidated
         Westborough, MA 01581                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MARKET
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $165,454.00
         D&H 402A Pad Partnership TS                                Contingent
         c/o Caron & Bletzer                                        Unliquidated
         PO Box 969                                                 Disputed
         Kingston, NH 03848
                                                                   Basis for the claim:    Rent
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $574.13
         D'ELIA ELECTRIC, INC.                                      Contingent
         127 E. CENTRE ST.                                          Unliquidated
         Nutley, NJ 07110                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         DEFOREST ELECTRICAL CONT.                                  Contingent
         25 OLD KINGS HWY NORTH                                     Unliquidated
         SUITE 13, #226                                             Disputed
         Darien, CT 06820
                                                                   Basis for the claim:    MAINT
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         DELMARVA POWER                                             Contingent
         PO Box 13609                                               Unliquidated
         Philadelphia, PA 19101                                     Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         DELMARVA SYSTEMS CORP.                                     Contingent
         1100 FIRST STATE BLVD                                      Unliquidated
         Newport, DE 19804                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Dine in Connecticut, LLC
         195 West Main Street                                       Contingent
         Suite 23                                                   Unliquidated
         Attn: Joseph Marinello                                     Disputed
         Avon, CT 06001
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Dinova, Inc.                                               Contingent
         6455 E Johns Crossing                                      Unliquidated
         #220                                                       Disputed
         Johns Creek, GA 30097
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         DIRECT ENERGY                                              Contingent
         1001 Liberty Avenue                                        Unliquidated
         Pittsburgh, PA 15522                                       Disputed
         Date(s) debt was incurred   12/5/2022                     Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Direct Energy                                              Contingent
         PO Box 32179                                               Unliquidated
         New York, NY 10087-2179                                    Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Direct Energy Bus. Marketing                               Contingent
         194 Wood Avenue South                                      Unliquidated
         Second Floor                                               Disputed
         Iselin, NJ 08830
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         DirectTV                                                   Contingent
         161 Inverness Dr. W                                        Unliquidated
         Englewood, CA 80112                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    UTILITY
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.48
         DOBSON TURF IRRIGATION                                     Contingent
         & LANDSCAPE LIGHT                                          Unliquidated
         1228 EAST MAIN STREET                                      Disputed
         Stamford, CT 06902
                                                                   Basis for the claim:    MAINT
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $343.80
         DOLBEARE ELEMENTARY SCHOOL                                 Contingent
         340 LOWELL ST                                              Unliquidated
         Wakefield, MA 01880                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         DOMINION ENERGY                                            Contingent
         PO Box 26543                                               Unliquidated
         Richmond, VA 23290-0001                                    Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,081.00
         DONOVAN ELECTRIC CO. INC.                                  Contingent
         127 MILTON ST                                              Unliquidated
         Dedham, MA 02026                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,100.00
         DP VIDEO PRODUCTS, LLC                                     Contingent
         6984 SMILING CLOUD AVE.                                    Unliquidated
         Henderson, NV 89011                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MARKET
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         DYNAMICARD, INC.                                           Contingent
         215 S. HICKORY ST., STE 220                                Unliquidated
         Escondido, CA 92025                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MARKET
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         E la Carte, Inc.                                           Contingent
         810 Hamilton St.                                           Unliquidated
         Redwood City, CA 94063                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,633.80
         EAST COAST FOOD EQUIPMENT                                  Contingent
         570 INDUSTRIAL DRIVE                                       Unliquidated
         Lewisberry, PA 17339-9534                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,545.36
         EATON LANDSCAPE CORP                                       Contingent
         219 B MEADOWCROFT ST                                       Unliquidated
         Lowell, MA 01852                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,981.40
         ECOLAB INC                                                 Contingent
         P.O. BOX 32027                                             Unliquidated
         New York, NY 02301-4440                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Ecolab Inc. d/b/a Ecosure                                  Contingent
         26397 Network Place                                        Unliquidated
         Chicago, IL 60673                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $59,335.71
         Ecolab Pest Elimination Ser.                               Contingent
         26252 NETWORK PLACE                                        Unliquidated
         Chicago, IL 60673-1262                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $12,815.63
         EDWARD DON & CO. HOLDINGS                                  Contingent
         9801 ADAM DON PARKWAY                                      Unliquidated
         Woodbridge, IL 60517                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $29,023.01
         ELGE PLUMBING & HEATING CO                                 Contingent
         P.O. BOX 1070                                              Unliquidated
         Burlington, MA 01803                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         ENGIE Resources LLC                                        Contingent
         1360 Post Oak Blvd.                                        Unliquidated
         Houston, TX 77056                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $397.25
         ESS LABORATORY                                             Contingent
         P.O. BOX 845327                                            Unliquidated
         Boston, MA 02284-5327                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         EVERSOURCE                                                 Contingent
         PO Box 56002                                               Unliquidated
         Boston, MA 02205-6002                                      Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         EVERSOURCE                                                 Contingent
         PO Box 56007                                               Unliquidated
         Boston, MA 02205-6007                                      Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Eversource (Delivery)                                      Contingent
         PO Box 55215                                               Unliquidated
         Boston, MA 02205-5215                                      Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Eversource (NH)                                            Contingent
         PO Box 56003                                               Unliquidated
         Boston, MA 02205-6003                                      Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         EVERSOURCE (Supply)                                        Contingent
         PO Box 55215                                               Unliquidated
         Boston, MA 02205-5215                                      Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,219.89
         EYEMED                                                     Contingent
         P.O. BOX 632530                                            Unliquidated
         Cincinnnati, OH 45263-2530                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         ezCater, Inc.
         40 Water Street                                            Contingent
         5th Floor                                                  Unliquidated
         Attn: General Counsel                                      Disputed
         Boston, MA 02109
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Fairfax County Water Authority                             Contingent
         PO Box 5008                                                Unliquidated
         Merrifield, VA 22116-5008                                  Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,000.00
         FALCON SOCIAL, INC                                         Contingent
         200 Vesey St, 19th Floor                                   Unliquidated
         New York, NY 10080                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MARKET
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $253.34
         FARACO KNIFE & SLICER CO                                   Contingent
         P.O. BOX 42                                                Unliquidated
         Pennsburg, PA 18073                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         FEDWAY NATIONAL ACCOUNTS                                   Contingent
         PO BOX 651                                                 Unliquidated
         Basking Ridge, NJ 07920-0651                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $450.00
         FIRST CLASS PLUMBING, LLC                                  Contingent
         17032 SILVER CHARM PLACE                                   Unliquidated
         Leesburg, VA 20176                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         First Point Power, LLC
         Attn: Customer Service                                     Contingent
         300 Jefferson Blvd.                                        Unliquidated
         Suite 104                                                  Disputed
         Warwick, RI 02888
                                                                   Basis for the claim:    UTILITY
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,767.00
         FISH WINDOW CLEANING                                       Contingent
         P.O. BOX 242                                               Unliquidated
         Woburn, MA 01801                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,824.00
         FISH WINDOW CLEANING                                       Contingent
         720 E Industrial Park Dr #14                               Unliquidated
         Manchester, NH 03109                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $961.91
         FISH WINDOW CLEANING                                       Contingent
         P.O. BOX 2611                                              Unliquidated
         Warminster, PA 18974                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $477.00
         FISH WINDOW CLEANING                                       Contingent
         P.O. BOX 12572                                             Unliquidated
         Wilmington, DE 19850                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $420.00
         FISH WINDOW CLEANING                                       Contingent
         9479 Silver King Ct, Ste A                                 Unliquidated
         Fairfax, VA 22031                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $191.00
         FISH WINDOW CLEANING                                       Contingent
         P.O. BOX 94                                                Unliquidated
         Arlington, MA 02476                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Fishbowl, Inc.                                             Contingent
         44 Canal Center Plaza                                      Unliquidated
         Suite 500                                                  Disputed
         Alexandria, VA 22314
                                                                   Basis for the claim:    MARKET
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,310.04
         FOODPREP SOLUTIONS, LLC                                    Contingent
         P.O. BOX 4777                                              Unliquidated
         Stamford, CT 06907                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $34,065.14
         FOURTH ENTERPRISES, LLC                                    Contingent
         P.O. BOX 848472                                            Unliquidated
         Dallas, TX 75284-8472                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         FREEL'S DRAFT SERVICE, LLC                                 Contingent
         12 OWL RIDGE ROAD                                          Unliquidated
         Oxford, CT 06478                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Freepoint Energy Solutions LLC                             Contingent
         3050 Post Oak Blvd.                                        Unliquidated
         Suite 1330                                                 Disputed
         Houston, TX 77056
                                                                   Basis for the claim:    UTILITY
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $249,722.00
         Frontier Dr Metro Center LP                                Contingent
         Lockbox #283523                                            Unliquidated
         PO Box 713523                                              Disputed
         Philadelphia, PA 19171-3523
                                                                   Basis for the claim:    Rent
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $41,948.10
         G&R MECHANICAL INC.                                        Contingent
         3220 BERGEY ROAD                                           Unliquidated
         Hattfield, PA 19440                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,516.57
         GASKET GUY NH                                              Contingent
         25 COMMERICAL DRIVE                                        Unliquidated
         Brentwood, MA 03833                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         General Mills Sales, Inc.                                  Contingent
         Bakeries & Foodservice                                     Unliquidated
         Post Office Box 1113                                       Disputed
         Minneapolis, MN 55440
                                                                   Basis for the claim:    FOOD
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $456.69
         GRANITE CITY ELECTRIC SUPPLY CO.                           Contingent
         P.O. BOX 213                                               Unliquidated
         Battleboro, VT 05302-0213                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $79.50
         GREEN ENERGY MASTERS                                       Contingent
         QSGI GREEN, INC.                                           Unliquidated
         P.O. BOX 300019                                            Disputed
         DULUTH, GA 30096
                                                                   Basis for the claim:    MAINT
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $363.60
         GRINDING COMPANY OF AMERICA                                Contingent
         105 ANNABEL AVENUE                                         Unliquidated
         Baltimore, MD 21225                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $15,537.60
         GRUBHUB HOLDINGS INC.                                      Contingent
         P.O. BOX 71649                                             Unliquidated
         Chicago, IL 60694                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Grubhub Holdings Inc.
         111 W. Washington St.                                      Contingent
         Ste. 2100                                                  Unliquidated
         Attn: Legal Department                                     Disputed
         Chicago, IL 60602
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $22,165.27
         H-I-M MECHANICAL SYSTEMS INC                               Contingent
         90 FIRST STREET                                            Unliquidated
         Bridgewater, MA 02324                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         HINGHAM MUNICIPAL LIGHT                                    Contingent
         PO Box 9264                                                Unliquidated
         Chelsea, MA 02150-9264                                     Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.137    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,310.86
         HOBART CORPORATION                                         Contingent
         P.O. BOX 2517                                              Unliquidated
         Carol Stream, IL 60132-2517                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.138    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Hofseth, LLC                                               Contingent
         6300 N. River Road                                         Unliquidated
         Suite 101                                                  Disputed
         Rosemont, IL 60018
                                                                   Basis for the claim:    FOOD
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.139    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Holliston Water Department                                 Contingent
         703 Washington St                                          Unliquidated
         Holliston, MA 01746                                        Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.140    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Horizon Beverage Co. of RI                                 Contingent
         COPLEY DISTRIBUTORS                                        Unliquidated
         P.O. BOX 1427                                              Disputed
         Coventry, RI 02816
                                                                   Basis for the claim:    LIQUOR
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.141    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         HUDSON ENERGY                                              Contingent
         5015 Westheimer Rd                                         Unliquidated
         Suite 1200, Caller #5                                      Disputed
         Houston, TX 77056
                                                                   Basis for the claim:    Utility
         Date(s) debt was incurred   12/5/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.142    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Hudson Energy Services, LLC                                Contingent
         105 Decker Ct.                                             Unliquidated
         Suite 1050                                                 Disputed
         Irving, TX 75062
                                                                   Basis for the claim:    UTILITY
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.143    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         HUDSONENERGY                                               Contingent
         PO Box 142109                                              Unliquidated
         Irving, TX 75014                                           Disputed
         Date(s) debt was incurred   12/5/2022                     Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.144    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,075.30
         INFOSYNC SERVICES, LLC                                     Contingent
         1938 N. Woodlawn, Ste 110                                  Unliquidated
         Wichita, KS 67208                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.145    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $19,840.00
         INSIGHT GLOBAL                                             Contingent
         1224 Hammond Dr., Ste 1500                                 Unliquidated
         Atlanta, GA 30346                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.146    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $20,327.44
         ISST, LLC                                                  Contingent
         407 SUN BLVD.                                              Unliquidated
         Bear, DE 19701                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.147    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $891.00
         J&J BROTHERS LANDSCAPING                                   Contingent
         35 CHERRY STREET                                           Unliquidated
         Willow Grove, PA 19090                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.148    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,150.00
         JOHN'S LANDSCAPING                                         Contingent
         219 CROWN POINT RD                                         Unliquidated
         THOROFARE, NJ 08086                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.149    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,724.53
         JOHNSON CONTROLS FIRE PRO.                                 Contingent
         DEPT. CHI 10320                                            Unliquidated
         Palatine, IL 60055-0320                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.150    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $901.00
         JOSE R.PEREZ LANDSCAPING                                   Contingent
         2529 ROSEWOOD AVE.                                         Unliquidated
         Royslyn, PA 19007                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.151    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,114.92
         JPROJECT SOLUTIONS INC.                                    Contingent
         14140 DEER CREEK ROAD                                      Unliquidated
         Wadsworth, IL 60083                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.152    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         JUAREZ LANDSCAPING & CONS.                                 Contingent
         46 SAMOSET RD                                              Unliquidated
         Peabody, MA 01960                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.153    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,740.00
         KENDRA SMITH FOOD STYLING                                  Contingent
         331 WOLCOTT AVE.                                           Unliquidated
         Middletown, RI 02842                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MARKET
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.154    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         KONRAD BEER DIST., INC                                     Contingent
         P.O. BOX 5396                                              Unliquidated
         Deptford, NJ 08096                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.155    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         L KNIFE & SONS INC                                         Contingent
         P.O. BOX K                                                 Unliquidated
         Kingston, MA 02364                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.156    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,200.00
         L. M. C. REALTY TRUST                                      Contingent
         P.O. BOX 522                                               Unliquidated
         Ashland, MA 01721                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.157    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $22.90
         LABOR LAW CENTER, INC.                                     Contingent
         3501 W. GARRY AVE.                                         Unliquidated
         Santa Ana, CA 92704                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.158    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $148.20
         LACONIA-BEST WAREHOUSING                                   Contingent
         & DIST. D/B/A RATE LINER                                   Unliquidated
         326 Main St., Unit 12                                      Disputed
         Fremont, NH 03044
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.159    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         LEBLANC'S WINDOW CLEANING                                  Contingent
         86 MOUNT PLEASANT ST.                                      Unliquidated
         New Bedford, MA 02740                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.160    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $240.30
         LEGALSHIELD                                                Contingent
         P.O. BOX 2629                                              Unliquidated
         Ada, OK 74820                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.161    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $535.58
         LENOX-MARTELL INC                                          Contingent
         83-97 HEATH STREET                                         Unliquidated
         Boston, MA 02130                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.162    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $450.00
         LEXINGTON CHAMBER OF COMM.                                 Contingent
         c/o TREASURE                                               Unliquidated
         1875 MASSACHUSETTS AVE                                     Disputed
         Lexington, MA 02421
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.163    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         LEXINGTON MONTESSORI SCHOOL                                Contingent
         130 PLEASANT STREET                                        Unliquidated
         Lexington, MA 02421                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MARKET
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.164    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,305.93
         LIBERTY COCA-COLA BEVERAGES                                Contingent
         P.O. BOX 780810                                            Unliquidated
         Philadelphia, PA 19178-0810                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.165    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Liberty Utilities                                          Contingent
         75 Remittance Dr                                           Unliquidated
         Suite 1032                                                 Disputed
         Chicago, IL 60675-1032
                                                                   Basis for the claim:    Utility
         Date(s) debt was incurred 12/5/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.166    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         LIBERTY UTILITIES                                          Contingent
         PO Box 219094                                              Unliquidated
         Kansas City, MO 64121-9094                                 Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.167    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $197,064.00
         Lincoln Plaza Assoc                                        Contingent
         PO Box 829424                                              Unliquidated
         Philadelphia, PA 19182-9424                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.168    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         M.S. WALKER, INC.                                          Contingent
         975 UNIVERSITY AVE.                                        Unliquidated
         Norwood, MA 02062                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.169    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,367.38
         MAIN STREET BEVERAGE, LLC                                  Contingent
         1434 COUNTY LINE RD                                        Unliquidated
         Huntingdon Valley, PA 19006                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.170    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $17,120.64
         MAKO NETWORKS, INC.                                        Contingent
         1355 N. MCLEAN BLVD.                                       Unliquidated
         Elgin, IL 60123                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.171    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $559,442.00
         Mall at Rockingham LLC                                     Contingent
         Mall at Rockingham Park                                    Unliquidated
         14165 Collections Center Dr                                Disputed
         Chicago, IL 60693
                                                                   Basis for the claim:    Rent
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.172    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $304,003.00
         Mall at Solomon Pond, LLC                                  Contingent
         14199 Collections Center Dr                                Unliquidated
         Chicago, IL 60693                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.173    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         MANSFIELD MUN. ELEC                                        Contingent
         PO Box 9192                                                Unliquidated
         Chelsea, MA 02150-9192                                     Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.174    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $204.48
         MARTELLO KNIFE SERVICE INC                                 Contingent
         570 INDUSTRIAL DRIVE                                       Unliquidated
         Lewisberry, PA 17339-9534                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.175    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         MARTIGNETTI OF MASSACHUSETTS                               Contingent
         500 JOHN HANCOCK ROAD                                      Unliquidated
         Taunton, MA 02780-7379                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.176    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $744.34
         MCC MARRA CARPET CLEANING                                  Contingent
         P.O. BOX 118                                               Unliquidated
         Spinnerstown, PA 18968-0118                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.177    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,786.45
         MCL MECHANICAL SERVICES                                    Contingent
         26 KELSO AVE.                                              Unliquidated
         West Springfield, MA 01089                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.178    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,925.23
         MEDCOR, INC.                                               Contingent
         P.O. BOX 75570                                             Unliquidated
         Cleveland, OH 44101-4755                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.179    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $108,721.00
         MEDFORD WELL                                               Contingent
         P.O. BOX 961                                               Unliquidated
         WORCESTER, MA 01613-0961                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.180    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         MERRIMACK VALLEY DIST CO                                   Contingent
         P.O. BOX 417                                               Unliquidated
         Danvers, MA 01923                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.181    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $490.00
         MIKES LANDSCAPING                                          Contingent
         41 WAYCROSS DRIVE                                          Unliquidated
         Warwick, RI 02888                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.182    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $294,723.00
         MNH Mall, LLC                                              Contingent
         Mall of New Hamphire                                       Unliquidated
         14184 Collections Center Dr                                Disputed
         Chicago, IL 60693
                                                                   Basis for the claim:    Rent
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.183    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $138,476.00
         MOBO Systems                                               Contingent
         285 Fulton St                                              Unliquidated
         Floor 82                                                   Disputed
         New York, NY 18002
                                                                   Basis for the claim:    Marketing
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.184    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Mount Laurel MUA (#03)                                     Contingent
         PO Box 6001                                                Unliquidated
         Bellmawr, NJ 08099-6001                                    Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.185    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         MTMSA (Montgomery)                                         Contingent
         PO Box 618                                                 Unliquidated
         Souderton, PA 18964-0618                                   Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.186    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Nashua Waste Water System                                  Contingent
         PO Box 3840                                                Unliquidated
         Nashua, NH 03061-3840                                      Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.187    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         NATIONAL GRID                                              Contingent
         PO Box 371338                                              Unliquidated
         Pittsburgh, PA 15250-7338                                  Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.188    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         NATIONAL GRID                                              Contingent
         PO Box 371396                                              Unliquidated
         Pittsburgh, PA 15250-7396                                  Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.189    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,612.31
         NATIONAL SIGN CORP                                         Contingent
         780 FOUR ROD ROAD                                          Unliquidated
         Berlin, CT 06037                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.190    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.63
         NATIONAL SIGN SHOP, INC.                                   Contingent
         163 W. STREET ROAD                                         Unliquidated
         Feasterville, PA 19053                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.191    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $179,838.00
         NCR Corporation                                            Contingent
         P.O. Box 198755                                            Unliquidated
         Atlanta, GA 30384-8755                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.192    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         NCR Corporation                                            Contingent
         Attn: Legal Department                                     Unliquidated
         864 Spring Street NW                                       Disputed
         Atlanta, GA 30308
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.193    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Neil Jones Food Company                                    Contingent
         1701 W 16th Street                                         Unliquidated
         Vancouver, WA 98660                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    FOOD
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.194    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $997.46
         NESPRESSO USA INC.                                         Contingent
         P.O. BOX 2425                                              Unliquidated
         Carol Stream, IL 60132                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.195    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         New England Document Systems                               Contingent
         P.O. BOX 11407 DEPT 5874                                   Unliquidated
         Birmingham, AL 35246-5874                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.196    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,418.13
         NEW ENGLAND UPHOLSTERY                                     Contingent
         3824 CHESTNUT HILL AVE                                     Unliquidated
         Athol, MA 01331                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.197    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,334.02
         NEW HAMPSHIRE LIQUOR COMM.                                 Contingent
         50 STORRS ST.                                              Unliquidated
         Concord, NH 03301                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.198    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,060.77
         NEW HORIZONS TECHNOLOGIES                                  Contingent
         4 CAMPGROUND ROAD                                          Unliquidated
         Sterling, MA 01564                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.199    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         North Wales Water Auth                                     Contingent
         PO Box 95000-1138                                          Unliquidated
         Philadelphia, PA 19195-1138                                Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.200    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,387.00
         NORTHEAST CUTLERY INC.                                     Contingent
         244 ASH ST                                                 Unliquidated
         Reeding, MA 01867                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.201    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         NORTHEAST ELEMENTARY PTO                                   Contingent
         70 PUTNEY LANE                                             Unliquidated
         Waltham, MA 02452                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.202    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         NuC02 LLC                                                  Contingent
         2800 SE Market Place                                       Unliquidated
         Stuart, FL 34997                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.203    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Olo Inc.                                                   Contingent
         99 Hudson St.                                              Unliquidated
         10th Floor                                                 Disputed
         New York, NY 10013
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.204    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $320.00
         PARALLEL ENTERPRISES                                       Contingent
         18 WILSHIRE CIRCLE                                         Unliquidated
         Darcut, MA 01826                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.205    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         PARENTS PERFORMING STUDENTS                                Contingent
         232 PEARL STREET                                           Unliquidated
         Stoughton, MA 02072                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MARKET
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.206    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $12,090.00
         PAYTRONIX SYSTEMS, INC.                                    Contingent
         80 BRIDGE STREET                                           Unliquidated
         Newton, MA 02458                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.207    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $14,859,000.00
         PB Restaurants, LLC                                        Contingent
         11 West 42nd Street                                        Unliquidated
         Orlando, FL 32839                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Unsecured Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.208    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         PEABODY MUNICIPAL LIGHT                                    Contingent
         PO Box 3199                                                Unliquidated
         Peabody, MA 01961-3199                                     Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.209    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $58.33
         PEASE & DORIO, P.C.                                        Contingent
         316 MAIN ST.                                               Unliquidated
         Farmington, CT 06032                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.210    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         PECO                                                       Contingent
         PO Box 25237                                               Unliquidated
         Lehigh Valley, PA 18002                                    Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.211    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         PECO                                                       Contingent
         PO Box 37629                                               Unliquidated
         Philadelphia, PA 19101-0629                                Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.212    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         PECO                                                       Contingent
         PO Box 37632                                               Unliquidated
         Philadelphia, PA 19101-0629                                Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.213    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,100.00
         PENN SOUTH, INC.                                           Contingent
         P.O. BOX 4313                                              Unliquidated
         Greenville, DE 19807                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.214    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Pennichuck Water Works                                     Contingent
         PO Box 428                                                 Unliquidated
         Nashua, NH 03061-0428                                      Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.215    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $110.24
         PHILADELPHIA EXTRACT CO                                    Contingent
         4124 BLANCHE ROAD                                          Unliquidated
         Bensalem, PA 19020                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.216    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,511.70
         PIERCE-COTE ADVERTISING                                    Contingent
         683 MAIN STREET                                            Unliquidated
         Osterville, MA 02655                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MARKET
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.217    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         PK MEDIA, LLC                                              Contingent
         910 N. HARVARD AVE.                                        Unliquidated
         ATTN: PETER KLEINER                                        Disputed
         Ventnor City, NJ 08406
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.218    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,686.92
         PLASTICARD LOCKTECH INTL                                   Contingent
         P.O. BOX 679814                                            Unliquidated
         Dallas, TX 75267-9814                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MARKET
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.219    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,967.82
         PLUMBARAMA CO. INC.                                        Contingent
         3431 BRISTOL PIKE                                          Unliquidated
         BENSALEM, PA 19020                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.220    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,381.25
         POST POLAK P.A.                                            Contingent
         425 Eagle Rock Ave., Ste 200                               Unliquidated
         Roseland, NJ 07068                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LAW
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.221    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         PR Plymouth Meeting LP                                     Contingent
         PO Box 373312                                              Unliquidated
         Cleveland, OH 44193                                        Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.222    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Premium Beverage                                           Contingent
         P.O. BOX 1165                                              Unliquidated
         Norton, MA 02766                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.223    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,428.68
         PREMIUM DISTRIBUTORS OF VA LLC                             Contingent
         15001 NORTHRIDGE DRIVE                                     Unliquidated
         Chantilly, VA 20151                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.224    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $55.00
         PREMIUM STATIONERS INC                                     Contingent
         13841 ROSWELL Ave., Ste J                                  Unliquidated
         SUITE J                                                    Disputed
         Chino, CA 91710
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.225    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         PSE&G                                                      Contingent
         PO Box 14444                                               Unliquidated
         New Brunswick, NJ 08906-4444                               Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.226    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,501.33
         QUALITY RETAIL SYSTEMS, INC.                               Contingent
         1531 ROUTE 67                                              Unliquidated
         Schaghticoke, NY 12154                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.227    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Quikly, Inc.                                               Contingent
         1505 Woodward Ave.                                         Unliquidated
         4th Floor                                                  Disputed
         Detroit, MI 48226
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.228    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,788.44
         R.J. MASE LLC                                              Contingent
         P.O. BOX 2032                                              Unliquidated
         Norwalk, CT 06852-2032                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.229    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,550.00
         RADIANT CLEANING SERVICES                                  Contingent
         1257 Worcester Rd, Ste 252                                 Unliquidated
         Framingham, MA 01701                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.230    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         RADNOR TOWNSHIP                                            Contingent
         P.O. BOX 155                                               Unliquidated
         Wayne, PA 19087-0155                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    GOVT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.231    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,273.00
         RAGGS SEPTIC SERVICE INC.                                  Contingent
         461 BOSTON ST., A4                                         Unliquidated
         Topsfield, MA 01983                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.232    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         READING MUNICIPAL                                          Contingent
         PO Box 30                                                  Unliquidated
         Reading, MA 01867-0030                                     Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.233    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $129.32
         RENTOKIL NORTH AMERICA, INC                                Contingent
         P.O. BOX 740608                                            Unliquidated
         Cincinnnati, OH 45274-0608                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.234    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,398.02
         REPUBLIC NATIONAL DISTRIBUTING                             Contingent
         5401 EUBANK ROAD                                           Unliquidated
         Sandston, VA 23150                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.235    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $448,587.00
         Reward Network                                             Contingent
         540 W Madison St                                           Unliquidated
         Suite 2400                                                 Disputed
         Chicago, IL 60661
                                                                   Basis for the claim:    Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.236    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Rhode Island Energy                                        Contingent
         PO Box 371361                                              Unliquidated
         Pittsburgh, PA 15250-7361                                  Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.237    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $15,303.57
         RINGCENTRAL, INC.                                          Contingent
         P.O. BOX 734232                                            Unliquidated
         Dallas, TX 75373-4232                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.238    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,294.00
         RISE & SHINE WINDOW CLEANING                               Contingent
         31 GRANITE STREET #3                                       Unliquidated
         Milford, MA 01757                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.239    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         RITCHIE & PAGE                                             Contingent
         175 NEW CANTON WAY                                         Unliquidated
         Robbinsville, NJ 08691                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.240    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Ritual Technologies (U.S.) Inc.                            Contingent
         82 Peter St.                                               Unliquidated
         Suite 200                                                  Disputed
         Toronto, ON, M5V 2G5 Canada
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.241    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         ROB FARACO SHARPENING                                      Contingent
         44 ALANS LANE                                              Unliquidated
         Boyertown, PA 19512                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.242    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $350.00
         ROBERTO IRRIGATION                                         Contingent
         60 LEDGEVIEW WAY                                           Unliquidated
         APT 3106                                                   Disputed
         Wrentham, MA 02093
                                                                   Basis for the claim:    MAINT
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.243    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,131.27
         ROBERTS OXYGEN COMPANY INC                                 Contingent
         P.O. BOX 5507                                              Unliquidated
         Rockville, MD 20855                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.244    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $830.10
         RUAN, INC.                                                 Contingent
         666 GRANDE AVENUE                                          Unliquidated
         1700 RUAN CENTER                                           Disputed
         Des Moines, IA 50309
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.245    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $479.00
         S.A. BOGANS PLUMBING, INC                                  Contingent
         PLUMB CRAZY                                                Unliquidated
         1302 CONTINENTAL DR                                        Disputed
         Abingdon, MD 21009
                                                                   Basis for the claim:    MAINT
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.246    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $197.64
         SERVICE DISTRIBUTION                                       Contingent
         8397 PARIS STREET                                          Unliquidated
         Lorton, VA 22079                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.247    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $74.31
         SHARP WATER CULLIGAN                                       Contingent
         915 MADISON AVE.                                           Unliquidated
         Norristown, PA 19403                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.248    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $412.38
         SHRED-IT USA LLC                                           Contingent
         28883 NETWORK PLACE                                        Unliquidated
         Chicago, IL 60673-1288                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.249    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,825.93
         SIGNATURE LANDSCAPING                                      Contingent
         34 ESQUIRE ROAD                                            Unliquidated
         Norwalk, CT 06851                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.250    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,746.89
         SPILLANE'S NURSERY & LANDSCAPE                             Contingent
         182 PLYMOUTH STREET                                        Unliquidated
         Middleboro, MA 02346-1217                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.251    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Sprague                                                    Contingent
         PO Box 847887                                              Unliquidated
         Boston, MA 02284-7887                                      Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.252    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $174,899.00
         Springfield Square Cent LP                                 Contingent
         c/o Continental Dev. LLC                                   Unliquidated
         1604 Walnut St - 5th Floor                                 Disputed
         Philadelphia, PA 19103
                                                                   Basis for the claim:    Rent
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.253    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Square, Inc. d/b/a Caviar                                  Contingent
         1455 Market Street                                         Unliquidated
         #600                                                       Disputed
         San Francisco, CA 94103
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.254    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $170,507.00
         St. John Properties, Inc - B                               Contingent
         Accounts Receivable                                        Unliquidated
         PO Box 62784                                               Disputed
         Baltimore, MD 21264-2784
                                                                   Basis for the claim:    Rent
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.255    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,462.48
         STAPLES                                                    Contingent
         P.O. BOX 105748                                            Unliquidated
         Atlanta, GA 30348-5748                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.256    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,003.27
         SYMETRA FINANCIAL                                          Contingent
         P.O. BOX 1491                                              Unliquidated
         Minneapolis, MN 55480-1491                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.257    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $144.53
         SYNERGY TELCOM INC.                                        Contingent
         8222 INDY LANE                                             Unliquidated
         Indianapolis, IN 46214                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.258    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,181,936.00
         SYSCO Corporation                                          Contingent
         1390 Enclave Parkway                                       Unliquidated
         Houston, TX 77077                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt / Food Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.259    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         TALX Corporation                                           Contingent
         1845 Borman Court                                          Unliquidated
         St Louis, MO 63146                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.260    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,750.00
         TATTLE                                                     Contingent
         10900 RESEARCH BLVD.                                       Unliquidated
         STE 160C #1130                                             Disputed
         Austin, TX 78759
                                                                   Basis for the claim:    MAINT
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.261    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         TEMUA                                                      Contingent
         PO Box 467                                                 Unliquidated
         Marlton, NJ 08053                                          Disputed
         Date(s) debt was incurred   12/5/2022                     Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.262    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $259.17
         THE FLYING LOCKSMITHS                                      Contingent
         SPRINGFIELD & WESTERN                                      Unliquidated
         425 UNION ST., Box 10                                      Disputed
         West Springfield, MA 01089
                                                                   Basis for the claim:    MAINT
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.263    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $629.07
         THE FLYING LOCKSMITHS NJ                                   Contingent
         PHILADELPHIA NORTH                                         Unliquidated
         9121 ART SCHOOL RD                                         Disputed
         Chester Springs, PA 19425
                                                                   Basis for the claim:    MAINT
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.264    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $509.07
         THE FLYING LOCKSMITHS PA                                   Contingent
         1840 County Line Rd, Ste 107                               Unliquidated
         Huntingdon Valley, PA 19006                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.265    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,350.93
         THE FLYING LOCKSMITHS, INC                                 Contingent
         100 Grossman Dr., Ste 305                                  Unliquidated
         Braintree, MA 02184                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.266    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         The Metropolitan District                                  Contingent
         PO Box 990092                                              Unliquidated
         Hartford, CT 06199-0092                                    Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.267    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $214.19
         THE SHERWIN-WILLIAMS CO                                    Contingent
         50 E. MAIN STREET                                          Unliquidated
         Westborough, MA 01581                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.268    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         TILE PRO PLUS INC.                                         Contingent
         259 CUSHMAN AVENUE                                         Unliquidated
         Revere, MA 02151                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.269    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8,730.05
         TLCMAN LLC                                                 Contingent
         492 BEACON ST. #72                                         Unliquidated
         Boston, MA 02115                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.270    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Town of Andover                                            Contingent
         PO Box 99                                                  Unliquidated
         Andover, MA 01810                                          Disputed
         Date(s) debt was incurred   12/5/2022                     Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.271    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Town of Mansfield (Water)                                  Contingent
         PO Box 9192                                                Unliquidated
         Chelsea, MA 02150-9192                                     Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.272    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Town of North Andover                                      Contingent
         PO Box 986500                                              Unliquidated
         Boston, MA 02298-6500                                      Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.273    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Town of Norwood                                            Contingent
         PO Box 9101                                                Unliquidated
         Norwood, MA 02062-9101                                     Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.274    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Town of Plymouth                                           Contingent
         PO Box 844083                                              Unliquidated
         Boston, MA 02284-4083                                      Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.275    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Town of Reading                                            Contingent
         PO Box 1006                                                Unliquidated
         Reading, MA 01867-0906                                     Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.276    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Town of Westborough                                        Contingent
         PO Box 4113                                                Unliquidated
         Woburn, MA 01888-4113                                      Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.277    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $28,500.00
         TRIADEX SERVICES                                           Contingent
         5334 Primrose Lake Cir                                     Unliquidated
         Ste B                                                      Disputed
         Tampa, FL 33647
                                                                   Basis for the claim:    MARKET
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.278    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,230,840.00
         TriMark United East                                        Contingent
         PO Box 845377                                              Unliquidated
         Boston, MA 02284-5377                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt / Supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.279    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         TRINITY EPISCOPAL PRESCHOOL                                Contingent
         207 WEST MAIN STREET                                       Unliquidated
         Moorestown, NJ 08057                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.280    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         United Rentals of North America                            Contingent
         P.O. BOX 840514                                            Unliquidated
         Dallas, TX 75284-0514                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.281    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         UNITIL                                                     Contingent
         PO Box 981077                                              Unliquidated
         Boston, MA 02298-1077                                      Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.282    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $14,135.00
         US HVAC SERVICES, INC                                      Contingent
         5540 PORT ROYAL RD                                         Unliquidated
         Springfield, VA 22151                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.283    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,201.68
         VALENTINO'S LANDSCAPING                                    Contingent
         245 West County Line Rd                                    Unliquidated
         Hatboro, PA 19040                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.284    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $132.21
         VAN'S SHARPENING, LLC.                                     Contingent
         2799 S QUEEN STREET                                        Unliquidated
         Dallastown, PA 17313                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.285    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Veolia Water Delaware                                      Contingent
         PO Box 371804                                              Unliquidated
         Pittsburgh, PA 15250-7804                                  Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.286    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $224.88
         VIRGINIA IMPORTS                                           Contingent
         7550 ACCOTINK PARK RD                                      Unliquidated
         Springfield, VA 22150                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.287    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,724.46
         W B MASON CO., INC.                                        Contingent
         ATTN: STEVEN PIRES                                         Unliquidated
         59 CENTRE STREET                                           Disputed
         Brockton, MA 02301
                                                                   Basis for the claim:    MISC
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.288    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         WALNUT GROVE COOP INC                                      Contingent
         321 LAUREL AVE                                             Unliquidated
         Newark, DE 19711                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.289    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $341.04
         WALTHAM PEST SERVICES                                      Contingent
         9 ERIE DRIVE                                               Unliquidated
         Natick, MA 01760                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.290    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Warwick Pretreatment Billing                               Contingent
         PO Box 981076                                              Unliquidated
         Boston, MA 02298-1076                                      Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.291    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         WASHINGTON GAS                                             Contingent
         PO Box 37747                                               Unliquidated
         Philadelphia, PA 19101-5047                                Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.292    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Waste Management, LLC                                      Contingent
         415 Day Hill Road                                          Unliquidated
         Windsor, CT 06095                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    UTILITY
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      Bertucci's Restaurants, LLC                                                     Case number (if known)            6:22-bk-04313-GER
            Name

3.293    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $935.00
         WAYSIDE GLASS & MIRROR CO                                  Contingent
         940 BOSTON POST ROAD                                       Unliquidated
         Marlboro, MA 01752                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MAINT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.294    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Weir River Water System                                    Contingent
         PO Box 876                                                 Unliquidated
         Reading, NY 01867-0407                                     Disputed
         Date(s) debt was incurred 12/5/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.295    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         WELLS FARGO VENDOR FIN. SER.                               Contingent
         P.O. BOX 981022                                            Unliquidated
         Boston, MA 02298-1022                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.296    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $137.70
         WEST MEMORIAL PTO INC.                                     Contingent
         15 BOW ST                                                  Unliquidated
         Peabody, MA 01960                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.297    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,355.42
         WHITPAIN BEVERAGE                                          Contingent
         1667 DEKALB PIKE                                           Unliquidated
         Blue Bell, PA 19422                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LIQUOR
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.298    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         WILDER MEM. NURSERY SCHOOL                                 Contingent
         666 MAIN STREET                                            Unliquidated
         Hingham, MA 02043                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MISC
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.299    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $205,758.00
         Wildwood Est. of Braintree                                 Contingent
         PO Box 859059                                              Unliquidated
         Braintree, MA 02185                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor       Bertucci's Restaurants, LLC                                                            Case number (if known)            6:22-bk-04313-GER
             Name

3.300     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $16,183.14
          WINE AND SPIRITS-PA                                               Contingent
          209 W LANCASTER AVE                                               Unliquidated
          Wayne, PA 19087                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    LIQUOR
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.301     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $15,885.63
          XEROGRAPHIC DIGITAL PRINTING                                      Contingent
          1948 33RD ST                                                      Unliquidated
          Orlando, FL 32839                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    MARKET
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.302     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $72,727.55
          YELP INC                                                          Contingent
          P.O. BOX 204393                                                   Unliquidated
          Dallas, TX 75320-4393                                             Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    MARKET
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.303     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $54,895.31
          YEXT INC.                                                         Contingent
          61 9TH AVE                                                        Unliquidated
          New York, NY 10011                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    MARKET
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.304     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,238.62
          YOUNG'S LANDSCAPE MGMT, INC.                                      Contingent
          PO BOX 298                                                        Unliquidated
          Moorestown, NJ 08057                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    MAINT
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Ecolab Inc.
          24198 Network Place                                                                       Line     3.95
          Chicago, IL 60673-1241
                                                                                                          Not listed. Explain

4.2       Ecolab, Inc.
          1 Ecolab Place                                                                            Line     3.95
          Saint Paul, MN 55102
                                                                                                          Not listed. Explain




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Debtor      Bertucci's Restaurants, LLC                                                Case number (if known)          6:22-bk-04313-GER
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                       related creditor (if any) listed?            account number, if
                                                                                                                                    any
4.3       Trimark United East, LLC
          505 Collins St.                                                              Line      3.278
          Attleboro, MA 02703
                                                                                             Not listed. Explain

4.4       Trimark United East, LLC
          9 Hampshire St.                                                              Line      3.278
          Mansfield, MA 02048
                                                                                             Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                          Total of claim amounts
5a. Total claims from Part 1                                                               5a.        $                 1,247,406.88
5b. Total claims from Part 2                                                               5b.    +   $                22,494,768.59

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                    5c.        $                   23,742,175.47




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Fill in this information to identify the case:

Debtor name        Bertucci's Restaurants, LLC

United States Bankruptcy Court for the:      MIDDLE DISTRICT OF FLORIDA

Case number (if known)      6:22-bk-04313-GER
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           000021 - Peabody 15
             lease is for and the nature of       Newbury Street, West
             the debtor's interest                Peabody, MA 01960

                State the term remaining                                            153 W Hancock St Associates
                                                                                    c/o Radhey Khanna
             List the contract number of any                                        80 Nashus Rd
                   government contract                                              Londerry, NH 03053


2.2.         State what the contract or           000069 - Lexington,
             lease is for and the nature of       1777 Massachusetts
             the debtor's interest                Ave., Lexington, MA
                                                  02420
                State the term remaining                                            1775 Mass Ave, LLC
                                                                                    c/o Concord Prop. Mgmt, Inc
             List the contract number of any                                        1 Main Street
                   government contract                                              Concord, MA 01742


2.3.         State what the contract or           Location: 523 West
             lease is for and the nature of       Lancaster Avenue,
             the debtor's interest                Wayne, Pennsylvania
                                                  19087
                                                  Store #: 000045
                State the term remaining                                            523 Restaurant, L.P.
                                                                                    c/o Penn Real Est Group Inc
             List the contract number of any                                        620 Righters Ferry Road
                   government contract                                              Bala Cynwyd, PA 19004


2.4.         State what the contract or           Location: 625 Berlin -
             lease is for and the nature of       Cross Keys Road,
             the debtor's interest                Sicklerville, NJ 08081
                                                  Store #: 000135
                State the term remaining
                                                                                    629 Cross Keys Limited Liab.
             List the contract number of any                                        1222 Jennifer Ln
                   government contract                                              Manahawkin, NJ 08050



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Debtor 1 Bertucci's Restaurants, LLC                                               Case number (if known)   6:22-bk-04313-GER
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.5.      State what the contract or        000002 - Kendall
          lease is for and the nature of    Square, 799 Main
          the debtor's interest             Street, Cambridge, MA
                                            02138
             State the term remaining                                      805 Main St LLC
                                                                           c/o The Senne Company
          List the contract number of any                                  One Lewis Wharf
                government contract                                        Boston, MA 02110


2.6.      State what the contract or        Location: 380 West
          lease is for and the nature of    Main Street, Avon,
          the debtor's interest             Connecticut 06001
                                            Store #: 000060
             State the term remaining
                                                                           Avon Marketplace Investors
          List the contract number of any                                  PO Box 783522, Lockbox #3522
                government contract                                        Philadelphia, PA 19178-3522


2.7.      State what the contract or        000053 - Bel Air, 12 Bel
          lease is for and the nature of    Air South Parkway, Bel
          the debtor's interest             Air, MD 21015

             State the term remaining
                                                                           Bel Air South Commercial LLC
          List the contract number of any                                  2700 Philadelphia Road
                government contract                                        Edgewood, MD 21040-1120


2.8.      State what the contract or        000008 - Norwood,
          lease is for and the nature of    1405 Providence
          the debtor's interest             Highway, Norwood,MA
                                            02062
             State the term remaining                                      Best Petroleum LLC
                                                                           Country Manor Norwood Trust
          List the contract number of any                                  40 Grove St., Unit 430
                government contract                                        Wellesley, MA 02482


2.9.      State what the contract or        000070 - Chelmsford,
          lease is for and the nature of    14 Littleton Road
          the debtor's interest             Chelmsford MA 01824

             State the term remaining
                                                                           Buncrana
          List the contract number of any                                  275 Mishawum Road
                government contract                                        Woburn, MA 01801




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          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.10.     State what the contract or        Location: 95
          lease is for and the nature of    Washington Street,
          the debtor's interest             Canton, Massachusetts
                                            02021
                                            Store #: 000100
             State the term remaining
                                                                        Canton R2G Owner LLC
          List the contract number of any                               PO Box 411261
                government contract                                     Boston, MA 02241-1261


2.11.     State what the contract or        000030 - Swampscott,
          lease is for and the nature of    450 Paradise Road
          the debtor's interest             Swampscott MA 01907

             State the term remaining
                                                                        Centercorp Swampscott Realty
          List the contract number of any                               600 Loring Ave
                government contract                                     Salem, MA 01970


2.12.     State what the contract or        000109 - Christiana, 201
          lease is for and the nature of    West Main Street
          the debtor's interest             Newark DE 19702

             State the term remaining
                                                                        Christiana Town Center LLC
          List the contract number of any                               PO Box 7189
                government contract                                     Wilmington, DE 19803


2.13.     State what the contract or        000130 - Reading, 45
          lease is for and the nature of    Walkers Brook Drive,
          the debtor's interest             Reading, MA 01867

             State the term remaining                                   CIL Walkers LLC
                                                                        c/o Bank of America, N.A.
          List the contract number of any                               PO Box 105576
                government contract                                     Atlanta, GA 30348


2.14.     State what the contract or        000126 - Plymouth, 6
          lease is for and the nature of    Plaza Way, Plymouth,
          the debtor's interest             MA 02360

             State the term remaining
                                                                        Commerce Way Development
          List the contract number of any                               11 Poppasquash Rd
                government contract                                     Bristol, RI 02809




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.15.     State what the contract or        Location: 3610
          lease is for and the nature of    Concord Pike,
          the debtor's interest             Wilmington, Delaware
                                            19803
                                            Store #: 000105
             State the term remaining
                                                                        Concord Gallery, Inc.
          List the contract number of any                               P.O. Box 7189
                government contract                                     Wilmington, DE 19803


2.16.     State what the contract or        Location: 501 Byers
          lease is for and the nature of    Drive, Glen Mills,
          the debtor's interest             Pennsylvania 19342
                                            Store #: 000131
             State the term remaining                                   Concord Retail Partners LP
                                                                        Brandolini Property Mgmt
          List the contract number of any                               PO Box 4711
                government contract                                     Lancaster, PA 17601


2.17.     State what the contract or        000019 - Nashua, 406
          lease is for and the nature of    Amherst Street,
          the debtor's interest             Nashua, NJ 03063

             State the term remaining                                   D&H 402A Pad Partnership TS
                                                                        c/o Caron & Bletzer
          List the contract number of any                               PO Box 969
                government contract                                     Kingston, NH 03848


2.18.     State what the contract or        Location: 999 S.
          lease is for and the nature of    Washington St., North
          the debtor's interest             Attleboro, MA 02760
                                            Store #: 000127
             State the term remaining                                   Emerald Square Mall
                                                                        Jones Land Lasalle Americas
          List the contract number of any                               6365 Halcyon Way, Ste 970
                government contract                                     Alpharetta, GA 30005


2.19.     State what the contract or        Location: Wilmington
          lease is for and the nature of    3610 Concord Pike,
          the debtor's interest             Wilmington, Delaware
                                            19803
                                            Store #: 000105
             State the term remaining                                   F.A Associates
                                                                        T/A Concord Gallery
          List the contract number of any                               PO Box 7189
                government contract                                     Wilmington, DE 19803




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.20.     State what the contract or        Location: 8130
          lease is for and the nature of    Corporate Dr,
          the debtor's interest             Baltimore, MD 21236
                                                                        FR White Marsh, LLC
             State the term remaining                                   c/o Federal Realty Inv. Tr.
                                                                        Attn: Legal Department
          List the contract number of any                               909 Rose Ave., Ste 200
                government contract                                     Rockville, MD 20852


2.21.     State what the contract or        000018 - Framingham,
          lease is for and the nature of    150 Worcester Road,
          the debtor's interest             Framingham, MA 01702

             State the term remaining                                   Framingham - 150 FR
                                                                        Realty Limited Partnership
          List the contract number of any                               1051 Reservoir Ave
                government contract                                     Cranston, RI 02910


2.22.     State what the contract or        000072 - Springfield,
          lease is for and the nature of    655 Frontier Drive,
          the debtor's interest             Springfield, VA 22150

             State the term remaining                                   Frontier Drive Metro Center
                                                                        Lockbox #283523
          List the contract number of any                               PO Box 713523
                government contract                                     Philadelphia, PA 19171-3523


2.23.     State what the contract or        Location: 515 North
          lease is for and the nature of    Route 73, Marlton, New
          the debtor's interest             Jersey 08053
                                            Store #: 000093
             State the term remaining                                   Greentree V, LLC
                                                                        Attn: Tequesta Properties
          List the contract number of any                               1 Holtec Blvd.
                government contract                                     Camden, NJ 08104


2.24.     State what the contract or        000031 - Glastonbury,
          lease is for and the nature of    2882 Main Street
          the debtor's interest             Glastonbury CT 06033

             State the term remaining
                                                                        Griswold Mall Associates
          List the contract number of any                               1000 Huntington Turnpike
                government contract                                     Bridgeport, CT 06610, CT 06610




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.25.     State what the contract or        000096 - Westboro, 160
          lease is for and the nature of    Turnpike Road, (Rte 9),
          the debtor's interest             Westborough, MA
                                            01581
             State the term remaining                                    Hing Wah Realty Trust
                                                                         c/o Howard Lee, Trustee
          List the contract number of any                                67 Beach St.
                government contract                                      Boston, MA 02111


2.26.     State what the contract or        000003 - Holliston 414
          lease is for and the nature of    Washington Street
          the debtor's interest             Holliston MA 01746

             State the term remaining                                    Joseph Gaied
                                                                         LMC Realty Trust
          List the contract number of any                                PO Box 522
                government contract                                      Ashland, MA 01721


2.27.     State what the contract or        000015 - Newton, 275
          lease is for and the nature of    Centre Street Newton
          the debtor's interest             MA 02458

             State the term remaining
                                                                         Knapp Foods Inc
          List the contract number of any                                PO Box 396
                government contract                                      Natick, MA 01760


2.28.     State what the contract or        Location: 675
          lease is for and the nature of    Middletown Blvd.,
          the debtor's interest             Langhorne,
                                            Pennsylvania 19047
                                            Store #: 000068
             State the term remaining
                                                                         Lincoln Plaza Assoc
          List the contract number of any                                PO Box 829424
                government contract                                      Philadelphia, PA 19182-9424


2.29.     State what the contract or        000093 - Marlton, 515
          lease is for and the nature of    North Route 73,
          the debtor's interest             Marlton, New Jersey
                                            08053
             State the term remaining                                    M3 Real Estate Holdings, LLC
                                                                         c/o Veritas Real Estate Serv
          List the contract number of any                                701 Route 73 North, Suite 4
                government contract                                      Marlton, NJ 08053




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          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.30.     State what the contract or        Store #: 000023
          lease is for and the nature of    Location: 275
          the debtor's interest             Rockingham Park Blvd,
                                            Salem, New Hampshire
                                            03079
             State the term remaining                                    Mall at Rockingham LLC
                                                                         Mall at Rockingham Park
          List the contract number of any                                14165 Collections Center Dr
                government contract                                      Chicago, IL 60693


2.31.     State what the contract or        Location: 601 Donald
          lease is for and the nature of    Lynch, Marlborough,
          the debtor's interest             Massachusetts 01752
                                            Store #: 000089
             State the term remaining
                                                                         Mall at Solomon Pond, LLC
          List the contract number of any                                14199 Collections Center Dr
                government contract                                      Chicago, IL 60693


2.32.     State what the contract or        Location: 2929 Berlin
          lease is for and the nature of    Turnpike, Newington,
          the debtor's interest             Connecticut 06111
                                            Store #: 000039
             State the term remaining                                    Marc Capital Corp
                                                                         c/o Nancy Anderson
          List the contract number of any                                1713 Montaine Drive East
                government contract                                      Golden, CO 80401


2.33.     State what the contract or        Location: 999 South
          lease is for and the nature of    Washington Street,
          the debtor's interest             North Attleboro,
                                            Massachusetts 02760
                                            000127 - Attleboro
             State the term remaining                                    Mayflower Emerald Square LLC
                                                                         Emerald Square
          List the contract number of any                                14190 Collections Center Dr
                government contract                                      Chicago, IL 60693


2.34.     State what the contract or        Location: 1500 South
          lease is for and the nature of    Willow St, Manchester,
          the debtor's interest             New Hampshire 03103
                                            Store #: 000090
             State the term remaining                                    MNH Mall, LLC
                                                                         Mall of New Hamphire
          List the contract number of any                                14184 Collections Center Dr
                government contract                                      Chicago, IL 60693




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          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.35.     State what the contract or        Location: 860
          lease is for and the nature of    Bethlehem Pike, North
          the debtor's interest             Wales, Pennsylvania
                                            19454
                                            Store #000137
             State the term remaining
                                                                        Montgomery Mall Realty
          List the contract number of any                               1010 Northern Blvd Suite 212
                government contract                                     Great Neck, NY 11021


2.36.     State what the contract or        000020 - Warwick, 1946
          lease is for and the nature of    Post Road Warwick RI
          the debtor's interest             02886

             State the term remaining                                   NC Read Beam LLC
                                                                        c/o North Colony Asset Mgmt
          List the contract number of any                               625 Mt. Auburn St.
                government contract                                     Cambridge, MA 02138


2.37.     State what the contract or        000043 - Huntingdon
          lease is for and the nature of    Valley, 2190 County
          the debtor's interest             Line Road Huntingdon
                                            Valley PA 19006
             State the term remaining
                                                                        New Century Assoc. Group
          List the contract number of any                               PO Box 62694
                government contract                                     Baltimore, MD 21264-2684


2.38.     State what the contract or        NORTHBORO
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        PamJam Realty LLC
          List the contract number of any                               276 W. Main St., Suite 13A
                government contract                                     Northborough, MA 01532


2.39.     State what the contract or        17 Commerce Way,
          lease is for and the nature of    Woburn, MA 01801
          the debtor's interest

             State the term remaining                                   Plamen Grochev, Trustee of
                                                                        17 Commerce Way Realty Tr.
          List the contract number of any                               4 Robinson Park
                government contract                                     Winchester, MA 01890




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                    Page 8 of 12
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Debtor 1 Bertucci's Restaurants, LLC                                             Case number (if known)   6:22-bk-04313-GER
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.40.     State what the contract or        Location: 500 W
          lease is for and the nature of    Germantown, Pike,
          the debtor's interest             Plymouth, Meeting, PA
                                            19462
                                            000091 - Plymouth
                                            Meeting
             State the term remaining
                                                                        PR Plymouth Meeting L.P.
          List the contract number of any                               PO Box 73312
                government contract                                     Cleveland, OH 44193


2.41.     State what the contract or        000129 - Mansfield
          lease is for and the nature of    Crossing, 280 School
          the debtor's interest             Street Mansfield MA
                                            02048
             State the term remaining
                                                                        Route 140 School Street LLC
          List the contract number of any                               PO Box 847425
                government contract                                     Boston, MA 02284-7425


2.42.     State what the contract or        Vehicle Lease - 2019
          lease is for and the nature of    Ram 2500 VIN#
          the debtor's interest             3C6UR5CJ0KG518236

             State the term remaining
                                                                        Ruan, Incorporated
          List the contract number of any                               11207 Aurora Avenue
                government contract                                     Urbandale, IA 50322


2.43.     State what the contract or        000050 - Columbia,
          lease is for and the nature of    9081 Snowden River
          the debtor's interest             Parkway Columbia MD
                                            21044
             State the term remaining                                   Snowden Holdings LLC
                                                                        c/o Adam Schwartz
          List the contract number of any                               15942 Shady Grove Rd
                government contract                                     Gaithersburg, MD 20877


2.44.     State what the contract or        000028 - Waltham, 475
          lease is for and the nature of    Winter Street Waltham
          the debtor's interest             MA 02451

             State the term remaining
                                                                        Somerset Waltham LLC
          List the contract number of any                               465 Waverly Oaks Rd Ste 500
                government contract                                     Waltham, MA 02452




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          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.45.     State what the contract or        000104 - Needham,
          lease is for and the nature of    1257 Highland Avenue
          the debtor's interest             Needham MA 02492

             State the term remaining                                    South Street Holdings LLC
                                                                         c/o The Grossman Companies
          List the contract number of any                                859 Willard St., Suite 501
                government contract                                      Quincy, MA 02169


2.46.     State what the contract or        000122 - Springfield
          lease is for and the nature of    Square 965 Baltimore
          the debtor's interest             Pike Springfield PA
                                            19064
             State the term remaining                                    Springfield Square Central
                                                                         c/o Continental Developers
          List the contract number of any                                1604 Walnut St - 5th Floor
                government contract                                      Philadelphia, PA 19103


2.47.     State what the contract or        000066 - Timonium,
          lease is for and the nature of    1818 York Road
          the debtor's interest             Timonium MD 21093

             State the term remaining                                    St. John Properties, Inc - B
                                                                         Accounts Receivable
          List the contract number of any                                PO Box 62784
                government contract                                      Baltimore, MD 21264-2784


2.48.     State what the contract or        000034 - Medford, 4054
          lease is for and the nature of    Mystic Valley Parkway
          the debtor's interest             Medford MA 02155

             State the term remaining
                                                                         STA Wite Inc
          List the contract number of any                                15 Garfield Ave.
                government contract                                      Somerville, MA 02145


2.49.     State what the contract or        000107 - Brockton
          lease is for and the nature of    Location: 1285
          the debtor's interest             Belmont St, Brockton,
                                            MA 02301
                                            Store #: 000107
             State the term remaining                                    Stonehill 123 LLC
                                                                         c/o GJS Management Corp
          List the contract number of any                                858 Washington St, Suite 309
                government contract                                      Dedham, MA 02026




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          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.50.     State what the contract or        000022 - North
          lease is for and the nature of    Andover, 435 Andover
          the debtor's interest             Street North Andover
                                            MA 01845
             State the term remaining
                                                                          Thompson's Restaurant, Inc
          List the contract number of any                                 PO Box 155
                government contract                                       N. Andover, MA 01845-0155


2.51.     State what the contract or        000041 - Mount Laurel,
          lease is for and the nature of    1220 Nixon Drive Mt.
          the debtor's interest             Laurel NJ 08054

             State the term remaining                                     US MJW East Gate I, LLC
                                                                          c/o M&J Wilkow Properties
          List the contract number of any                                 20 S. Clark St., Suite 3000
                government contract                                       Chicago, IL 60603


2.52.     State what the contract or        000025 - West Roxbury,
          lease is for and the nature of    683 VFW Parkway West
          the debtor's interest             Roxbury MA 02467

             State the term remaining
                                                                          Westbrook Village Realty Tr.
          List the contract number of any                                 PO Box 67396
                government contract                                       Chestnut Hill, MA 02467


2.53.     State what the contract or        000016 - Braintree, 412
          lease is for and the nature of    Franklin Street
          the debtor's interest             Braintree MA 02184

             State the term remaining
                                                                          Wildwood Est. of Braintree
          List the contract number of any                                 PO Box 859059
                government contract                                       Braintree, MA 02185


2.54.     State what the contract or        Location: 27 Enon
          lease is for and the nature of    Street, Beverly,
          the debtor's interest             Massachusetts 01915
                                            Store #: 000087
             State the term remaining                                     Winkal Holdings, LLC
                                                                          Attn: Tina Mihzir
          List the contract number of any                                 10 Rye Ridge Plaza, Ste 200
                government contract                                       Rye Brook, NY 10573




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          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.55.     State what the contract or        000013 - Hingham, 90
          lease is for and the nature of    Derby Street Hingham
          the debtor's interest             MA 02043

             State the term remaining
                                                                        WSM Hingham Properties LLC
          List the contract number of any                               PO Box 3274
                government contract                                     Boston, MA 02241-3274




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                    Page 12 of 12
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Fill in this information to identify the case:

Debtor name      Bertucci's Restaurants, LLC

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF FLORIDA

Case number (if known)    6:22-bk-04313-GER
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Bertucci's                  4700 Millenia Blvd., Ste. 400                            PHL Holdings, LLC               D       2.3
          Holding, LLC                Orlando, FL 32839                                                                         E/F
                                                                                                                               G



   2.2    Bertucci's                  4700 Millenia Blvd., Ste. 400                            PHL Holdings, LLC               D       2.4
          Holding, LLC                Orlando, FL 32839                                                                         E/F
                                                                                                                               G



   2.3    Bertucci's                  12 Bel Air S. Parkway                                    PHL Holdings, LLC               D       2.3
          Restaurants                 Bel Air, MD 21015                                                                         E/F
          (B-A)
                                                                                                                               G



   2.4    Bertucci's                  12 Bel Air S. Parkway                                    PHL Holdings, LLC               D       2.4
          Restaurants                 Bel Air, MD 21015                                                                         E/F
          (B-A)
                                                                                                                               G



   2.5    Bertucci's                  9081 Snowden River Pkwy                                  PHL Holdings, LLC               D       2.3
          Restaurants (CO)            Columbia, MD 21044                                                                        E/F
                                                                                                                               G



Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 2
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Debtor    Bertucci's Restaurants, LLC                                             Case number (if known)   6:22-bk-04313-GER


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Bertucci's               9081 Snowden River Pkwy                             PHL Holdings, LLC            D      2.4
          Restaurants (CO)         Columbia, MD 21044                                                                E/F
                                                                                                                    G



  2.7     Bertucci's               8130 Corporate Place                                PHL Holdings, LLC            D      2.3
          Restaurants              Nottingham, MD 21236                                                              E/F
          (WM)
                                                                                                                    G



  2.8     Bertucci's               8130 Corporate Place                                PHL Holdings, LLC            D      2.4
          Restaurants              Nottingham, MD 21236                                                              E/F
          (WM)
                                                                                                                    G



  2.9     Bertucci’s               1818 York Road                                      PHL Holdings, LLC            D      2.3
          Restaurants              Lutherville Timonium, MD 21093                                                    E/F
          (BAL)
                                                                                                                    G



  2.10    Bertucci’s               1818 York Road                                      PHL Holdings, LLC            D      2.4
          Restaurants              Lutherville Timonium, MD 21093                                                    E/F
          (BAL)
                                                                                                                    G




Official Form 206H                                              Schedule H: Your Codebtors                                     Page 2 of 2
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Fill in this information to identify the case:

Debtor name         Bertucci's Restaurants, LLC

United States Bankruptcy Court for the:    MIDDLE DISTRICT OF FLORIDA

Case number (if known)     6:22-bk-04313-GER
                                                                                                                              Check if this is an
                                                                                                                                 amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                             04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                         Gross revenue
      which may be a calendar year                                                    Check all that apply                       (before deductions and
                                                                                                                                 exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                            $70,912,000.00
      From 1/01/2022 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                            $97,956,000.00
      From 1/01/2021 to 12/31/2021
                                                                                       Other


      For year before that:                                                            Operating a business                            $88,148,000.00
      From 1/01/2020 to 12/31/2020
                                                                                       Other


      For the fiscal year:                                                             Operating a business                           $120,073,000.00
      From 1/01/2019 to 12/31/2019
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue          Gross revenue from
                                                                                                                                 each source
                                                                                                                                 (before deductions and
                                                                                                                                 exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




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      None.
      Creditor's Name and Address                                  Dates                  Total amount of value          Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              See SoFA Exhibit 3a                                                                     Unknown             Secured debt
                                                                                                                          Unsecured loan repayments
                                                                                                                          Suppliers or vendors
                                                                                                                          Services
                                                                                                                          Other    Vendors, Rent, and
                                                                                                                         Misc.


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                  Total amount of value          Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken
      PR Plymouth Meeting L.P.                         Funds pulled from PNC Bank                                      11/15/2022               $135,110.27
      PO Box 73312                                     Last 4 digits of account number:
      Cleveland, OH 44193


Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.




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Debtor       Bertucci's Restaurants, LLC                                                      Case number (if known) 6:22-bk-04313-GER




      None.
              Case title                            Nature of case               Court or agency's name and          Status of case
              Case number                                                        address
      7.1.    PR Plymouth Meeting Limited           Civil (Court of              Montgomery County,                     Pending
              Partnership vs. Bertuccis             Common Pleas)                Pennsylvania                         On appeal
              Restaurants LLC                                                    Montgomery Co. Court
                                                                                                                      Concluded
              2022-21055                                                         House
                                                                                 First Floor
                                                                                 P.O. Box 311
                                                                                 Norristown, PA 19404

      7.2.    Parkhurst v. Bertucci's Corp.         Civil (General               Suffolk County Courthouse              Pending
              et al                                 Liability)                   3 Pemberton Square                   On appeal
              2284CV01210                                                        Boston, MA 02108
                                                                                                                      Concluded

      7.3.    Pageau, Christine v.                  Civil (General               Rockingham County                      Pending
              Bertucci's                            Liability)                   Courthouse                           On appeal
              218-2021-CV-01165                                                  10 Route 125
                                                                                                                      Concluded
                                                                                 Brentwood, NH 03833

      7.4.    Perez, Ana v. Bertucci's              Workers' Comp.               MA Dept of Industrial                  Pending
              13233-22                                                           Accidents                            On appeal
                                                                                 Lafayette City Center
                                                                                                                      Concluded
                                                                                 2 Avenue de Lafayette
                                                                                 Boston, MA 02111

      7.5.    Ross, James J. v. Bertucci's          Workers' Comp.               MA Dept of Industrial                  Pending
              2100321                                                            Accidents                            On appeal
                                                                                 354 Merrimack St. Entrance
                                                                                                                      Concluded
                                                                                 C.
                                                                                 Suite 230
                                                                                 Lawrence, MA 01843

      7.6.    Depaz Carrillo, Walter v.             Workers' Comp.               MA Dept of Industrial                  Pending
              Bertucci's                                                         Accidents                            On appeal
              2230552142                                                         354 Merrimack St. Entrance
                                                                                                                      Concluded
                                                                                 C.
                                                                                 Suite 230
                                                                                 Lawrence, MA 01843

      7.7.    Savitz, Shannon M. v.                 Workers' Comp.               NJ Division of Workers                 Pending
              Bertucci's                                                         Comp                                 On appeal
              2022-7284                                                          PO Box 381
                                                                                                                      Concluded
                                                                                 Trenton, NJ 08625

      7.8.    Wax, Steven v. Bertucci's             Workers' Comp.               MA Dept of Industrial                  Pending
              3428821                                                            Accidents                            On appeal
                                                                                 Lafayette City Center
                                                                                                                      Concluded
                                                                                 2 Avenue de Lafayette
                                                                                 Boston, MA 02111

      7.9.    Murone, Angelena N. v.                Workers' Comp.               DE Dept. of Labor                      Pending
              Bertucci's                                                         Division of Industrial Affairs       On appeal
              1509212                                                            655 S. Bay Road; Suite 2H
                                                                                                                      Concluded
                                                                                 Dover, DE 19901




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             Case title                        Nature of case               Court or agency's name and          Status of case
             Case number                                                    address
      7.10 Kelly, Michael A. v. Bertucci's     Workers' Comp.               PA Dept of Labor &                     Pending
      .    8878621                                                          Industry                             On appeal
                                                                            Bucks County Admin.
                                                                                                                 Concluded
                                                                            Building
                                                                            55 E. Court Street.
                                                                            Doylestown, PA 18901

      7.11 Sanchez, Ramon v. Bertucci's        Workers' Comp.               DE Dept. of Labor                      Pending
      .    1519882                                                          Division of Industrial Affairs       On appeal
                                                                            655 S. Bay Road; Suite 2H
                                                                                                                 Concluded
                                                                            Dover, DE 19901

      7.12 Felder, Brandon v. Bertucci's       Workers' Comp.               NJ Division of Workers                 Pending
      .    2022-17112                                                       Comp                                 On appeal
                                                                            PO Box 381
                                                                                                                 Concluded
                                                                            Trenton, NJ 08625

      7.13 NH Dept. of Labor v.                Labor Inspection             NH Dept of Labor                     Pending
      .    Bertucci's Restaurants LLC          (Payment of fine)            Inspection Division                  On appeal
             000101269                                                      PO Box 2076                            Concluded
                                                                            Concord, NH 03302

      7.14 Winkal Holdings, LLC vs             Landlord/Tenant              Essex County Superior                  Pending
      .    Bertucci’s Restaurants, LLC                                      Court                                On appeal
             2277CV01018                                                    50 W. Market St.
                                                                                                                 Concluded
                                                                            Newark, NJ 07102

      7.15 Stonehill 123, LLC vs               Landlord/Tenant              Norfolk County Superior                Pending
      .    Bertucci’s Restaurant Corp.                                      Court                                On appeal
             2282CV01113                                                    650 High St.
                                                                                                                 Concluded
                                                                            Dedham, MA 02026

      7.16 Concord Retail Partners, LP         Landlord/Tenant              Delaware County Court                  Pending
      .    vs Bertucci’s Restaurants,                                       201 W. Front St.                     On appeal
             LLC                                                            Media, PA 19063
                                                                                                                 Concluded
             CV-2022-007686

      7.17 Griswold Mall Associates,           Landlord/Tenant              Hartford, Connecticut                  Pending
      .    LLC vs. Bertucci’s                                               Superior Court                       On appeal
             Restaurants, LLC                                               95 Washington Street
                                                                                                                 Concluded
             (unknown)                                                      Hartford, CT 06106

      7.18 629 Cross Keys Limited              Landlord/Tenant              Camden County Superior                 Pending
      .    Liability Company vs                                             Court                                On appeal
             Bertucci’s Restaurants, LLC                                    101 South 5th Street
                                                                                                                 Concluded
             CAM-L-002905-22;                                               Camden, NJ 08103
             CAM-LT-005906-22

      7.19 MNH Mall, LLC vs Bertucci’s         Landlord/Tenant              9th Circuit Manchester                 Pending
      .    Restaurants, LLC                                                 Judicial Branch                      On appeal
             456-2022-LT-901                                                35 Amherst Street
                                                                                                                 Concluded
                                                                            Manchester, NH 03101

      7.20 M3 Real Estate Holdings, LLC        Landlord/Tenant              Burlington County Superior             Pending
      .    vs Bertucci’s Restaurants,                                       Court                                On appeal
             LLC                                                            49 Rancocas Rd
                                                                                                                 Concluded
             BUR-LT-004583-22                                               Mount Holly, NJ 08060



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             Case title                               Nature of case              Court or agency's name and            Status of case
             Case number                                                          address
      7.21 South Street 4414 Holdings,                Landlord/Tenant             Dedham District Court                      Pending
      .    LLC vs. Bertucci’s                                                     631 High St.                           On appeal
             Restaurants, LLC                                                     Dedham, MA 02026
                                                                                                                         Concluded
             2254SU000057

      7.22 Lincoln Plaza Center, LP vs                Landlord/Tenant             Bucks County District                      Pending
      .    Bertucci’s Restaurants, LLC                                            Court                                  On appeal
             MJ-07108-LT-0000049-2022                                             100 North Main St.
                                                                                                                         Concluded
                                                                                  Doylestown, PA 18901

      7.23 Frontier Drive Metro Center,               Landlord/Tenant             Fairfax County General                     Pending
      .    LLC vs. Bertucci’s                                                     District                               On appeal
             Restaurants, LLC                                                     4110 Chain Bridge Rd, Ste
                                                                                                                         Concluded
             GV22018758-00                                                        210
                                                                                  Fairfax, VA 22030

      7.24 17 Commerce Way Realty                     Landlord/Tenant             Woburn District Court                      Pending
      .    Trust vs Bertucci’s                                                    30 Pleasant St.                        On appeal
             Restaurants, LLC                                                     Woburn, MA 01801
                                                                                                                         Concluded
             2253SU000092

      7.25 St. John Properties, Inc. vs               Landlord/Tenant             Baltimore County District                  Pending
      .    Bertucci’s Restaurant Corp.                                            Court                                  On appeal
             D-084-LT-22-026673;                                                  8914 Kelso Drive
                                                                                                                         Concluded
             D-084-LT-22-027661                                                   Essex, MD 21221

      7.26 Somerset Waltham, LLC vs                   Landlord/Tenant             Waltham District Court                     Pending
      .    Bertucci’s Restaurants, LLC                                            38 Linden St.                          On appeal
             2251SU000136                                                         Waltham, MA 02452
                                                                                                                         Concluded

      7.27 Gorchev, et al. vs. Bertucci’s             Landlord/Tenant             Woburn District Court                      Pending
      .    Restaurants, LLC                                                       30 Pleasant St.                        On appeal
             2253SU00092                                                          Woburn, MA 01801
                                                                                                                         Concluded

      7.28 Bel Air South Commercial                   Landlord/Tenant             Hartford County District                   Pending
      .    LLC v. Bertucci's Restaurants                                          Court                                  On appeal
             (Bel Air), LLC                                                       2 S. Bond St., Ste. 100
                                                                                                                         Concluded
             D-091-LT-22-008273                                                   Bel Air, MD 21014

      7.29 523 Restaurant, LP v.                      Landlord/Tenant             Delaware County Court of                   Pending
      .    Bertucci's Restaurants, LLC                                            Common Pleas                           On appeal
             CV-2022-008904                                                       201 W. Front Street
                                                                                                                         Concluded
                                                                                  Media, PA 19063


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
             Recipient's name and address             Description of the gifts or contributions                 Dates given                          Value

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               Recipient's name and address           Description of the gifts or contributions                 Dates given                          Value

      9.1.     David Ortiz Childrens Fund             Donations:                                                May 21, 2021
               214 Main Street #448                   5/21/21  $45,389                                          and Sept. 14,
               El Segundo, CA 90245                   9/14/22  $45,848                                          2022                          $91,237.00

               Recipients relationship to debtor
               N/A


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and            Amount of payments received for the loss                  Dates of loss           Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
                Who was paid or who received            If not money, describe any property transferred               Dates              Total amount or
                the transfer?                                                                                                                     value
                Address
      11.1.     Shuker & Dorris, P.A.                                                                                 11/07/2022
                121 S. Orange Avenue                                                                                  $2,012.50
                Suite 1120                                                                                            12/05/2022
                Orlando, FL 32801                       Prepetition Attorney Fees and Costs                           $24,779.60              $26,812.10

                Email or website address
                rshuker@shukerdorris.com

                Who made the payment, if not debtor?




      11.2.     Shuker & Dorris, P.A.
                121 S. Orange Avenue
                Suite 1120                              Post-Petition Retainer for Attorney Fees
                Orlando, FL 32801                       and Costs                                                     12/5/2022               $81,877.90

                Email or website address
                rshuker@shukerdorris.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.


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      None.
      Name of trust or device                             Describe any property transferred                   Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
               Who received transfer?                  Description of property transferred or                    Date transfer              Total amount or
               Address                                 payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
                Address                                                                                            Dates of occupancy
                                                                                                                   From-To
      14.1.     155 Otis Street                                                                                    2018 to present
                Northborough, MA 01532

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

                Facility name and address              Nature of the business operation, including type of services              If debtor provides meals
                                                       the debtor provides                                                       and housing, number of
                                                                                                                                 patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

          No.
      Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?

Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
                Financial Institution name and         Last 4 digits of           Type of account or          Date account was                Last balance
                Address                                account number             instrument                  closed, sold,               before closing or
                                                                                                              moved, or                            transfer
                                                                                                              transferred
      18.1.     Bank of America                        XXXX-2879                   Checking                  October 2022                             $0.00
                2 Cummings Park                                                    Savings
                Woburn, MA 01801
                                                                                   Money Market
                                                                                   Brokerage
                                                                                   Other

      18.2.     Bank of America                        XXXX-3240                   Checking                  October 2022                             $0.00
                7 Sedgewick Ave.                                                   Savings
                Darien, CT 06820
                                                                                   Money Market
                                                                                   Brokerage
                                                                                   Other

      18.3.     Bank of America                        XXXX-3279                   Checking                  March 2022                               $0.00
                23 Main St.                                                        Savings
                Andover, MA 01810
                                                                                   Money Market
                                                                                   Brokerage
                                                                                   Other

      18.4.     Bank of America                        XXXX-1420                   Checking                  May 2022                                 $0.00
                7990 Honeygo Blvd.                                                 Savings
                Nottingham, MD 21236
                                                                                   Money Market
                                                                                   Brokerage
                                                                                   Other

      18.5.     Wells Fargo (Gloucester)               XXXX-4784                   Checking                  November 2022                            $0.00
                3600 Route 42                                                      Savings
                Blackwood, NJ 08012
                                                                                   Money Market
                                                                                   Brokerage
                                                                                   Other

      18.6.     Wells Fargo (Bensalem)                 XXXX-4784                   Checking                  December 2021                            $0.00
                3625 Horizon Blvd.                                                 Savings
                Feasterville Trevose, PA
                                                                                   Money Market
                19053
                                                                                   Brokerage
                                                                                   Other

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address               Names of anyone with                  Description of the contents              Does debtor
                                                            access to it                                                                   still have it?
                                                            Address

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20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      iStorage Self Storage                                  Kevin Bakas, V.P. of Real             Two mobile brick ovens                       No
      869 Boston Turnpike                                    Estate & Construction of              (storage for winter), several                Yes
      Shrewsbury, MA 01545                                   Earl Enterprises                      used wooden dining chairs
                                                                                                   serviceable, and several used
                                                                                                   wooden dining tables.

      New England Business Park                              Kevin Bakas, V.P. of Real             Two Pasta cookers, two                       No
      Building A-1, 461 Boston St.                           Estate & Construction of              fryers, one 68" topping unit,                Yes
      Topsfield, MA 01983                                    Earl Enterprises                      misc. used kitchen
                                                                                                   equipment, old artwork from
                                                                                                   remodels, and tiles supplies.



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
      Yes. Provide details below.
      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?




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          No.
      Yes. Provide details below.
      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                            Describe the nature of the business               Employer Identification number
                                                                                                      Do not include Social Security number or ITIN.

                                                                                                      Dates business existed
   25.1.                                            Corporate Ownership                               EIN:
            Bertucci's Holding, LLC                                                                                XX-XXXXXXX
            4700 Millenia Blvd, Ste 400
            Orlando, FL 32839                                                                         From-To      5/25/2018 to present

   25.2.                                            Partnership/Affiliate of the Debtor               EIN:
            Bertucci's (BOS), LLC                                                                                  Applied for
            4700 Millenia Blvd, Ste 400
            Orlando, FL 32839                                                                         From-To      6/10/2022

   25.3.                                            Partnership/Affiliate of the Debtor               EIN:
            Bertucci's Restaurants
            (Baltimore) LLC
            MD                                                                                        From-To      2018 to present

   25.4.                                            Partnership/Affiliate of the Debtor               EIN:
            Bertucci's Restaurants
            (White Marsh) LLC
            MD                                                                                        From-To      2018 to present

   25.5.                                            Partnership/Affiliate of the Debtor               EIN:
            Bertucci's Restaurants
            (Bel-Air), LLC
            MD                                                                                        From-To      2018 to present

   25.6.                                            Partnership/Affiliate of the Debtor               EIN:
            Bertucci's Restaurants
            (Columbia), LLC
            MD                                                                                        From-To      2018 to present


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                Date of service
                                                                                                                                      From-To
      26a.1.        CBIZ MHM, LLC                                                                                                     2018 to present
                    500 Boylston Street
                    Boston, MA 02116
      26a.2.        David P. Lee, CPA                                                                                                 10/15/2021
                    Purvis, Gray & Company, LLP
                    1560 N. Orange Ave., Ste. 450
                    Winter Park, FL 32789




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      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.3.        Ernst & Young, LLP                                                                                              May 5, 2020
                    Michael E. Pattillo, Partner
                    200 S. Orange Ave., Ste. 2800
                    Orlando, FL 32801

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.1.        Ernst & Young, LLP                                                                                              8/1/2022
                    200 S. Orange Ave., Ste. 2800
                    Orlando, FL 32801

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        CBIZ MHM, LLC
                    500 Boylston Street
                    Boston, MA 02116
      26c.2.        David P. Lee, CPA
                    Purvis, Gray & Company, LLP
                    1560 N. Orange Ave., Ste. 450
                    Winter Park, FL 32789
      26c.3.        Ernst & Young, LLP
                    200 S. Orange Ave., Ste. 2800
                    Orlando, FL 32801

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

      No
          Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory
      27.1 See attached SoFA Exhibit 27                                             November 27              Total food and liquor inventory
      .                                                                             2022                     $766,467.33

               Name and address of the person who has possession of
               inventory records
               .



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

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      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Tom Avalone                            4700 Millenia Blvd., Ste. 400                       President & CEO                         N/A
                                             Orlando, FL 32839

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Brian Connell                          155 Otis Street                                     CFO & Treasurer                         N/A
                                             Northborough, MA 01532

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Jeffrey C. Sirolly                     4700 Millenia Blvd., Ste. 400                       Secretary                               N/A
                                             Orlando, FL 32839



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


          No
      Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      No
          Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Brian Connell
      .    155 Otis Street                                                                                      12/21 through
             Northborough, MA 01532                   $287,199                                                  12/22               Wages

             Relationship to debtor
             CFO and Treasurer


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

      No
          Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation
   OCS Group Holdings, Inc.                                                                           EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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        Statement of Financial Affairs - Exhibit 3a
             Bertucci's Restaurants, LLC (Case No. 6:22-bk- 4313-GER

Check Payments over $7,575

Class Code    Vendor Name
MISC          AMERICAN EXPRESS CORP.                                    $   157,816.42
MISC          ARAMARK UNIFORM & CAREER APPAREL, LLC                     $    12,560.35
NULL          A-TECH COMMERCIAL PARTS & SERVICE.                        $    35,000.32
UTILITY       ATLANTIC CITY ELECTRIC                                    $    13,513.69
MISC          AUCTIONEERS, INC/DBA E.F. SMITH & SON                     $     7,745.62
MAINT         AVERUS NORTHEAST, LLC                                     $    19,602.30
MISC          AVIT LLC                                                  $    32,935.00
MAINT         B.L.C. LANDSCAPING                                        $     7,738.00
UTILITY       BALTIMORE GAS & ELECTRIC CO                               $    37,383.91
UTILITY       BRAINTREE ELECTRIC LIGHT DEPT                             $    14,193.09
GOVT          BRAINTREE TOWN OF                                         $     9,933.56
UTILITY       BUNCRANA, LLC                                             $    35,076.54
LIQUOR        BURKE DISTRIBUTING CORP.                                  $    19,664.10
GOVT          CITY OF PEABODY                                           $    18,341.51
MISC          CLEVELAND MENU PRINTING INC.                              $    35,464.25
LIQUOR        COASTAL BEVERAGE                                          $     8,092.33
MISC          COCA COLA OF NORTHERN NEW ENGLAND                         $    59,797.90
MISC          COCA-COLA BOTTLLING CO. CONSOLIDATED                      $    15,783.84
UTILITY       CONNECTICUT NATURAL GAS CO                                $    21,854.81
MISC          DAVID ORTIZ CHILDREN'S FUND                               $    45,848.00
UTILITY       DELMARVA POWER DELIVERY                                   $    39,714.06
UTILITY       DIRECT ENERGY MARKETING/BUSINESS LLC                      $    61,784.06
UTILITY       DOMINION ENERGY VIRGINIA/VIRGINIA ELECTR                  $    13,628.15
MAINT         DONOVAN ELECTRIC CO. INC.                                 $    17,163.50
MAINT         ECOLAB                                                    $    52,739.94
MAINT         ECOLAB INC                                                $    36,737.64
MAINT         ECOLAB PEST ELIMINATION SERVICES                          $    47,489.54
MAINT         ELGE PLUMBING & HEATING CO. INC.                          $    41,901.27
UTILITY       EVERSOURCE ENERGY/CT LIGHT AND POWER CO                   $    62,301.74
UTILITY       EVERSOURCE ENERGY/NSTAR ELECTRIC COMPANY                  $   197,831.89
UTILITY       EVERSOURCE ENERGY/NSTAR GAS                               $    44,371.59
UTILITY       EVERSOURCE ENERGY/PUBLIC SERVICE CO NH                    $    25,370.85
MISC          FEDERAL EXPRESS CORPORATION/FEDEX                         $    48,321.31
MAINT         G&R MECHANICAL INC.                                       $    10,128.12
GOVT          GLOUCESTER TOWNSHIP                                       $    10,669.68
MAINT         GREATTATTLE INC                                           $     8,610.00
MAINT         H-I-M MECHANICAL SYSTEMS INC.                             $    31,559.94
UTILITY       HINGHAM MUNICIPAL LIGHTING                                $    16,943.22
MISC          INFOSYNC SERVICES, LLC                                    $     7,788.49
MISC          LIBERTY COCA-COLA BEVERAGES, LLC                          $    10,223.33
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UTILITY   LIBERTY UTILITIES/FORMERLY NAT GRID               $    21,279.10
MISC      MAKO NETWORKS, INC.                               $    22,485.71
GOVT      MANSFIELD TOWN OF                                 $    50,727.29
LIQUOR    MARTIGNETTI OF MASSACHUSETTS                      $    62,269.36
GOVT      MEDFORD CITY OF                                   $    19,125.74
MAINT     MEDFORD WELLINGTON SERVICE CO., INC.              $    49,684.83
LIQUOR    MERRIMACK VALLEY DIST CO                          $    10,993.18
MAINT     MERRITT BIG COLOR dba NATIONAL SIGN CORP          $    18,835.19
LIQUOR    MS WALKER/ALLEN'S LTD                             $    29,654.01
UTILITY   NATIONAL GRID GAS                                 $    46,691.69
UTILITY   NATIONALGRID                                      $   125,523.34
MAINT     NCR LOCAL-SOUTHEAST REGION                        $   419,880.79
MISC      NEW ENGLAND DOCUMENT SYSTEMS                      $    11,780.87
UTILITY   NEW HORIZON COMMUNICATIONS CORP.                  $    34,504.63
GOVT      NORTH ANDOVER TOWN OF                             $    14,336.34
GOVT      NORWOOD TOWN OF                                   $    32,695.39
MISC      NUCO2 INC.                                        $    14,919.30
MISC      OLGA S. COMPANY/OLGA M. ALVES                     $     8,300.00
MAINT     PARALLEL ENTERPRISES                              $    11,225.00
MISC      PAYTRONIX SYSTEMS, INC.                           $    12,060.00
UTILITY   PEABODY MUNICIPAL LIGHT                           $    14,541.93
UTILITY   PECO ENERGY                                       $    72,857.46
MISC      PIERCE-COTE'                                      $    38,474.67
MAINT     PLUMBARAMA CO. INC.                               $     7,994.08
LIQUOR    PREMIUM BEVERAGE                                  $    28,041.43
UTILITY   PSE&G                                             $    29,002.03
MISC      QUALITY RETAIL SYSTEMS, INC.                      $    23,466.49
MAINT     RAGGS SEPTIC SERVICE INC.                         $    64,324.31
MISC      RELIASTAR LIFE INSURANCE COMPANY/VOYA             $     9,042.86
UTILITY   RHODE ISLAND ENERGY                               $    16,598.75
LIQUOR    RUBY WINES                                        $    20,235.03
LIQUOR    SOUTHERN GLAZER'S WINE AND SPIRITS, LLC           $     9,385.86
UTILITY   SPRAGUE OPERATING RESOURCES, LLC                  $     8,888.90
MISC      TALX UCM SERVICES INC.                            $     8,730.72
MAINT     TILE PRO PLUS INC.                                $     8,740.00
MAINT     TLCMAN LLC                                        $    11,238.65
GOVT      TOWN OF READING                                   $    23,535.61
MISC      US HVAC SERVICES, INC                             $    18,730.00
UTILITY   WASTE MANAGEMENT- CENTRAL MASS                    $   164,031.24
MISC      WELLS FARGO VENDOR FINANCIAL SERVICES             $    10,570.13
GOVT      WESTBOROUGH TOWN OF                               $    22,739.26
MISC      WESTPORT INSURANCE CORPORATION                    $    16,048.13
GOVT      WOBURN CITY OF                                    $     7,968.03
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                 Bertucci's Restaurants, LLC (Case No. 6:22-bk- 4313-GER

ACH Wires over $7,575
Type      Vendor Name
MISC      AVIT LLC                                                  $              52,025.51
FOOD      C.H. ROBINSON COMPANY, INC.                               $             648,218.22
UTILITY   DOMINION ENERGY VIRGINIA/VIRGINIA ELECTR                  $               9,523.40
MARKET DYNAMICARD, INC.                                             $              48,338.00
MISC      EPICOR SOFTWARE CORPORATION                               $              14,306.80
LIQUOR Liquor ACH Payments                                          $              14,805.89
MISC      MOBO SYSTEMS, INC. dba OLO                                $             268,314.77
MARKET REGANMARKETING & MEDIA/REGAN COMMUNICAT                      $              30,960.19
LAW       Shuker & Dorris                                           $             108,690.00
FOOD      SYSCO                                                     $           3,990,694.89
MISC      UNITED EAST TRIMARK                                       $             404,612.96
MARKET VALASSIS DIRECT MAIL, INC.                                   $              48,316.41
LAW       WOFSEY ROSEN KWESKIN KURIANSKY, LLP                       $             100,000.00
MISC      XEROGRAPHIC DIGITAL PRINTING, INC                         $              30,969.38
MARKET YELP INC                                                     $              26,400.00
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       Statement of Financial Affairs - Exhibit 3a
        Bertucci's Restaurants, LLC (Case No. 6:22-bk- 4313-GER

Rent Payments over $7,575

          Landlords:                                          Amount
Rent      153 W HANCOCK ST. LIMITED PARTNERSHIP               $         19,250.00
Rent      WSM Hingham Properties LLC                          $         44,498.04
Rent      PAMJAM Realty LLC                                   $         57,386.01
Rent      805 MAIN STREET                                     $         27,500.00
Rent      AVON MARKETPLACE L.P.                               $         22,837.50
Rent      BEL AIR SOUTH COMMERCIAL LLC                        $         38,672.86
Rent      CANTON R2G OWNER LLC                                $         22,001.76
Rent      CENTERCORP SWAMPSCOTT REALTY TRST                   $         16,775.35
Rent      CHRISTIANA TOWN CENTER LLC                          $         18,713.22
Rent      COMMERCE WAY DEVELOPMENT, LLC                       $         14,892.12
Rent      COUNTRY MANOR NORWOOD TRUST                         $        114,640.55
Rent      D&H 402A PAD PARTNERSHIP TS                         $         40,700.80
Rent      FRONTIER DRIVE METRO CENTER LP                      $         35,867.27
Rent      HING WAH REALTY Trust                               $         39,476.64
Rent      Framingham-150 FR                                   $         62,741.88
Rent      JOSEPH GAIED                                        $         12,293.78
Rent      KNAPP FOODS INC                                     $         68,925.00
Rent      MARC CAPITAL CORP                                   $         21,530.79
Rent      MYSTIC VALLEY PARKWAY TRUST                         $         19,010.53
Rent      NC READ BEAM LLC                                    $         19,583.33
Rent      NEW CENTURY ASSOCIATES GROUP LP                     $         24,282.61
Rent      ROUTE 140 SCHOOL STREET LLC                         $         58,211.34
Rent      SNOWDEN HOLDINGS LLC                                $         45,000.00
Rent      SOMERSET LTD PARTNERSHIP                            $         41,147.41
Rent      STONEHILL                                           $         41,439.00
Rent      THOMPSON'S RESTAURANT INC.                          $         25,190.67
Rent      TRITON REALTY LIMITED PARTNERSHIP                   $         31,370.94
Rent      VERITAS REAL ESTATE/M3 REAL ESTATE HOLDI            $         15,739.00
Rent      WESTBROOK VILLAGE REALTY TRUST                      $         43,754.49
Rent      WILDWOOD ESTATES OF BRAINTREE INC.                  $         41,181.78
Rent      WIN PROPERTIES INC/WINKAL HOLDINGS LLC              $         14,791.20
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                                            Statement of Financial Affairs - Exhibit 27
                                              Bertucci's Restaurants, LLC (Case No. 6:22-bk-04313-GER)


Total Company - All Inventory   $     780,076.07

Total Company by Category       $      43,692.18    $     534,240.24    $      81,407.61     $      55,213.78     $     65,522.26    $       780,076.07
                                To Go Supplies Total Food               Liquor              Beer                 Wine                Total
                                     11003               11004               11018                11019               11020
                                Balance To Date -   Balance To Date -   Balance To Date -    Balance To Date -   Balance To Date -
                                 November 2022       November 2022       November 2022        November 2022       November 2022
000002 - Kendall Square                    4,250               4,384               1,070                1,070               1,731               12,505
000003 - Holliston                         1,491              14,768               3,281                1,515               1,544               22,599
000008 - Norwood                           1,702              29,695               2,788                3,307               2,421               39,913
000013 - Hingham                             805              18,314               3,456                2,692               3,037               28,303
000015 - Newton                            1,373              24,809               3,825                2,232               2,330               34,569
000016 - Braintree                         1,680              21,998               1,922                2,125               1,901               29,627
000018 - Framingham                        1,293              11,505               2,752                 (287)              2,354               17,617
000019 - Nashua                            1,086              18,458               1,941                1,130               2,476               25,090
000020 - Warwick                           1,195              17,310               2,616                2,947               2,758               26,826
000021 - Peabody                             659              15,993               2,457                1,959                 909               21,976
000022 - North Andover                     1,054              19,702               2,949                2,717               1,525               27,947
000025 - West Roxbury                        793              24,797               1,755                1,901               2,360               31,605
000028 - Waltham                             974              17,352               2,506                1,432               1,554               23,817
000030 - Swampscott                          423              12,588               4,984                1,104                 940               20,038
000031 - Glastonbury                       3,645               9,804               1,149                  632                 863               16,094
000034 - Medford                           2,204              23,388               4,132                7,020               5,097               41,842
000041 - Mount Laurel                      1,676              18,561               5,767                2,087               3,835               31,927
000043 - Huntingdon Valley                 1,245              11,554               1,574                1,030                 895               16,299
000050 - Columbia                          1,229              13,438               2,214                1,574               2,807               21,262
000053 - Bel Air                           1,091              22,305               2,100                1,256               1,633               28,384
000066 - Timonium                          1,440              14,664               2,486                1,490               1,605               21,686
000069 - Lexington                           760              12,067               1,780                  594               1,617               16,818
000070 - Chelmsford                          -                18,330               2,512                1,233               2,410               24,485
000072 - Springfield                         864              13,528               1,103                  429               1,750               17,675
000096 - Westboro                            889              14,714               2,259                  553               1,696               20,111
000104 - Needham                           1,382              15,745               2,784                2,043               2,660               24,614
000109 - Christiana                        2,459              23,619               1,291                1,123               2,416               30,908
000122 - Springfield Square                  872              14,104               3,173                2,214               1,160               21,523
000126 - Plymouth                          2,516              17,731               2,997                1,602               2,750               27,596
000129 - Mansfield Crossing                1,927              20,720               2,380                2,477               2,421               29,926
000130 - Reading                             717              18,295               3,404                2,012               2,067               26,495
